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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA

Jeremiah M., Hannah M. and Hunter M. by
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Eleanor T. and Gayle T. by their next            Case No. 3:22-cv-00129-JMK
friend Rebecca Fahnestock; and Lana H. by
her next friend Melissa Skarbek
individually and on behalf of all other          PLAINTIFFS’ RESPONSE IN
similarly situated                               OPPOSITION TO DEFENDANTS’
                                                 MOTION TO DISMISS
                           Plaintiffs,

         v.                                      ORAL ARGUMENT REQUESTED

ADAM CRUM, Director, Alaska Department
of Health and Social Services, in his official
capacity; KIM GUAY, Director, Office of
Children’s Services, in her official capacity;
ALASKA DEPARTMENT OF HEALTH
AND SOCIAL SERVICES; and ALASKA
OFFICE OF CHILDREN’S SERVICES,

                           Defendants.



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I.     INTRODUCTION

       Entering the child welfare system and being separated from a parent or guardian is

already traumatic for any child, particularly when combined with the potential trauma that

those children have already experienced because of potential abuse or neglect. But to add

insult to injury, Alaska’s child welfare system continues to harm the very children it is

meant to protect, the approximately 3,000 children in the State’s foster care system.

Alaska’s seriously dysfunctional child welfare system leaves caseworkers overburdened

and overworked with caseloads that are “more than 3x the national average” and that

“exceed what is safely manageable.” ¶¶155, 162.1 As both a cause and effect of these high

caseloads, caseworker turnover is at an “all time high of 59.4%.” ¶160.

       In addition, Alaska has the second lowest percentage of caseworkers making

federally mandated visits, which is necessary to ensure children’s safety, and ranks as the

fifth worst state for reunification of foster children with their family in under 12 months.

¶¶167, 198. Alaska’s child welfare system also fails to provide necessary services to foster

children, including to Alaska Native children who make up approximately two-thirds of

the child welfare population. ¶¶203-15. The system is plagued by deficient and delayed

case planning and placements that are often inadequate and inappropriate. ¶¶174-92.

Children are often required to stay in homeless shelters, Office of Children’s Services

(“OCS”) offices, hotels, or overly restrictive facilities. ¶175.




1
 References to “¶” or to “Paragraph(s)” are references to those in Plaintiffs’ Amended
Complaint (the “Complaint”) dated July 15, 2022 (ECF No. 16).
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       Defendants also fail foster children with disabilities—arguably the most vulnerable

of populations—by discriminating against them on account of their disabilities and placing

them at risk of unnecessary isolation from their communities, thus violating the Americans

with Disabilities Act and Rehabilitation Act. Defendants repeatedly violate the Indian

Child Welfare Act (“ICWA”) and fail to maintain foster children’s connections with their

Native communities. This is especially egregious given that ICWA was enacted because

“an alarmingly high percentage of Indian families were broken up by removal, often

unwarranted, of their children from them[.]” ¶245.

       In their Motion to Dismiss (ECF No. 23), Defendants attempt to skirt responsibility

not by arguing with any of the facts—indeed they cannot at this stage of the litigation—

but with arguing foremost that federal courts must abstain from hearing Plaintiffs’ claim.

However, Defendants fail to address the fact that abstention is well-settled in the Ninth

Circuit and numerous courts have found that claims almost identical to Plaintiffs’ claims

can be heard by federal courts because, as here, Plaintiffs are bringing claims against state

executives—not the courts. Plaintiffs’ claims and the relief that they seek will not interfere

with or alter any court processes in the Child in Need of Aid (“CINA”) cases, even if

Plaintiffs were able to litigate these claims in the CINA proceedings, which they are not.

       Plaintiffs instead seek to compel Defendants to comply with their constitutional and

federal statutory duties, including duties under the Adoption Assistance and Child Welfare

Act of 1980, the Indian Child Welfare Act, the Americans with Disabilities Act, and the

Rehabilitation Act. Plaintiffs illustrate the myriad ways in which Defendants are violating



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their duties and request systemic changes to repair Alaska’s deeply flawed child welfare

system. Defendants’ motion should be denied in its entirety.

II.    BACKGROUND

       Defendants’ factual statement completely ignores Plaintiffs’ allegations of

widespread systemic deficiencies that cause great harm to children in the State’s care.

Instead, Defendants attempt to turn their motion into one for summary judgment, citing to

numerous “facts” that are not in the record about how they have made “extensive efforts”

to address the numerous inadequacies that Alaska’s child welfare system has faced.2 For

example, Defendants state that “[o]ne of OCS’s highest priorities is to stabilize the

workforce and reduce caseloads.” D. Br. at 8.3 Defendants do not provide any citations for

such a statement, which is directly contrary to the facts alleged in the Complaint. See, e.g.,

¶¶152-63. Moreover, Defendants’ declared intent to reform is irrelevant at the motion to

dismiss stage and not evidence of the actual status of the child welfare system. See Pierce

v. County of Orange, 526 F.3d 1190, 1223 (9th Cir. 2008).

       Defendants ignore the allegations in the Complaint that show the severity of the

issues and the harm to Alaska foster children. Specifically, the Complaint alleges that

caseworkers have unsupportable caseloads (as discussed above) and that turnover is at an

all-time high of 59.4%—up 11.8% from the previous year with OCS typically operating at


2
  Defendants’ “Background Facts” on pages 6-8 of their motion do not reference any
documents—nor can Defendants do so in connection with a motion to dismiss.
3
  Cites to “D. Br.” are to Defendants’ Unredacted Motion to Dismiss and Brief in Support
(ECF No. 23). While Plaintiffs are aware of L. Civ. R. 7.4, Defendants have not filed their
unredacted brief with the ECF System and, therefore, all citations are to Defendants’ page
numbers.
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a 50% caseworker vacancy rate. ¶¶160, 162. OCS has admitted that “[h]igh staff turnover

and high caseload[s] . . . overburden the child welfare system’s ability to . . . achieve safe

and timely exits of children from foster care.” ¶164. Defendants also admit that “[t]he long-

lasting and pervasive negative impact on children and families involved in the child welfare

system due to the lack of a stable and sufficient workforce cannot be overstated.” ¶165.

Such effects include a lack of caseworker visits with parents and children, resulting in poor

case planning and ongoing assessments of safety and needs.4 ¶165. Indeed, 2019 data

indicated that Alaska had the second lowest percentage of caseworker visits to children, a

federally mandated requirement, in the country. ¶167. OCS is stretched so thin, it has

instructed some offices not to respond to Priority 3 reports (or reports of neglect or

marginally safe situations). ¶166.

       In contravention of federal law and widely accepted professional standards, OCS

has also failed to recruit and maintain adequate foster homes so that it can place each child

in the most appropriate and least restrictive placement that best suits their needs.5 ¶¶174-

75. This leads to foster children spending time overnight in OCS offices or languishing in

locked facilities. ¶175. Placement instability also continues to plague the Alaska child




4
  As of 2021, only 60% of case plans were current, and OCS recently noted that it actively
involved foster children and their families in only 52% of cases as of 2020. ¶¶184, 186.
5
  For example, in 2021, OCS maintained only 1,026 non-specific foster homes, despite
having around 3,000 foster children in custody.
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welfare system. OCS admitted it fell “well below the national standard” in placement

stability, with OCS moving children far more than the national average.6 ¶172.

       Alaska’s foster children also wait longer than most foster children to find

permanency.7 ¶¶193-201. Children languish in care and are not provided necessary

services. ¶¶203-15. OCS acknowledged that “[t]he array of services is not fully

functioning, and there are many services that are not available in all communities of

Alaska,” which means that its “capacity to provide timely, appropriate levels of support to

avoid institutional placement is limited.”8 ¶¶205, 207. This issue is especially aggravated

for children with disabilities, as OCS is more likely to place these children in facilities,

rather than providing services in their own homes or foster homes. ¶211. OCS has often

left disabled children in hospitals or homeless shelters for days and sometimes weeks. Id.

       The problems within Alaska’s child welfare system are reflected in the stories of the

Named Plaintiffs. OCS has placed Lana H. in 17 placements in approximately four years,

including being placed in North Star Behavioral Health System five different times. ¶¶124-

39. She has spent the majority of her time in OCS custody in facilities that repeatedly




6
  In 2019, 58.4% of children who had been in care at least 24 months had three or more
placements, 34.6% of children in foster care between 12 months and 24 months had three
or more placements, and 21.8% of children in care under 12 months had three or more
placements. ¶173.
7
  For example, in 2019, Alaska ranked as the fifth worst state in the country for its rate of
reunifications in under 12 months, and nearly 20 percent of children who aged out had been
in foster care since age 12 or younger. ¶¶198-99.
8
  As OCS has further acknowledged “[t]he lack of timely and available resources in
communities where families reside, makes the success of timely reunification with parents
and children much less likely.” ¶206.
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restrained and sedated her, and that lacked services sufficient to meet her mental health

needs. ¶143. Her current OCS placement is a homeless shelter that does not have the

capacity to provide her with required services. ¶136.

       Gayle T. has been in and out of institutions, where she was physically restrained,

sedated against her will, and sexually abused by another resident. ¶¶113-19.

       Under OCS custody, siblings David. V., George V., Lawrence V., Karen V., and

Damien V., have changed placements 40 times, collectively. ¶76. The siblings have been

separated the majority of those placements, which have included adult homeless shelters.

¶¶76, 86. OCS is supposed to hold Team Decision Making meetings before any placement

change, but it has not done so because the meetings are “a waste of time and resources.”

¶76. The children have moved frequently due to Defendants’ lack of permanency planning,

failure to provide support or training to foster parents, and failure to provide necessary

services to the children. See, e.g., ¶¶81-83, 85-89, 96. Additionally, even though the case

plan for the children calls for reunification, OCS cut off all in-person visitation between

the children and their mother in April of 2022 until therapeutic visitation—for which there

are long waiting lists—could be scheduled. ¶77.

       OCS initially placed Jeremiah M., Hannah M., and Hunter M., and Mary B. with

kinship family members but provided no support, financial or otherwise, to those family

members, causing those placements to disrupt. ¶¶47-52, 61-65. In the case of Jeremiah,

Hannah, and Hunter M., OCS placed the children in a home where the foster family’s child

has a record of sexual abuse. ¶55. Similarly, Defendants have provided almost no support



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to Rachel T. and Eleanor T.’s kinship foster family, providing little to no support in

obtaining necessary services. ¶¶105-09.

III.   ARGUMENT

       A.     This Court Has Subject Matter Jurisdiction and the Younger, O’Shea,
              and Rooker-Feldman Doctrines Do Not Bar This Court From Exercising
              Jurisdiction Over This Case

       As the Supreme Court has recognized, “federal courts have a ‘virtually unflagging’

obligation to exercise the jurisdiction given them.” Colo. River Water Conservation Dist.

v. U.S., 424 U.S. 800, 817 (1976).9 “Only in unusual instances do principles of comity in

relation to state courts warrant federal court abstention.” Tinsley v. McKay, 156 F. Supp.

3d 1024, 1030 (D. Ariz. 2015) (citing Younger v. Harris, 401 U.S. 37 (1971)) (emphasis

added).10 The Supreme Court has further noted that abstention under Younger is

“exceptional” and that federal courts have a duty to “entertain and resolve on the merits

[actions] within the scope of a jurisdictional grant.” Sprint Commc’cns, Inc. v. Jacobs, 571

U.S. 69, 73 (2013); see also Jonathan R. v. Justice, 41 F.4th 316, 321 (4th Cir. 2022)

(“principles of federalism not only do not preclude federal intervention, they compel it.

Plaintiffs brought federal claims, and federal courts ‘are obliged to decide’ them in all but



9
  See also id. (“Abstention from the exercise of federal jurisdiction is the exception, not the
rule.”).
10
   Defendants cite to Hodges v. Seward Ship’s Ace Hardware & Marine, No. 3:19-cv-
00059-JMK, 2020 U.S. Dist. LEXIS 256891 (D. Alaska Nov. 18, 2020) for the proposition
that a court “is presumed to lack jurisdiction in a particular case unless the contrary
affirmatively appears.” D. Br. at 15 n.54. However, this proposition pertains to a case
where the complaint fails to allege any basis for federal jurisdiction. Hodges involved pure
state law tort and contract claims. There was no federal admiralty jurisdiction because the
incident occurred on dry land and the relevant contract was not maritime in nature.
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‘exceptional’ circumstances”). A pending state court action “is no bar to proceedings

concerning the same matter in the Federal court having jurisdiction.” Sprint, 571 U.S. at

73 (citations and internal quotation marks omitted). This case is not the “unusual

circumstance” in which the Court should abstain.

       The law regarding abstention is well-settled in the Ninth Circuit, and district courts

within the Ninth Circuit and elsewhere have denied nearly identical motions to abstain.11

In both Tinsley and Wyatt B.,12 a class of foster children sued executive agencies in charge

of the state’s child welfare system for violations of their constitutional and statutory rights.

The defendants in both cases made almost identical abstention arguments to those made by

Defendants here. 156 F. Supp. 3d at 1032; 2021 U.S. Dist. LEXIS 184389, at *9. The

Tinsley and Wyatt B. courts rejected the abstention arguments and held that they had subject

matter jurisdiction to hear the cases. 156 F. Supp. 3d at 1044; 2021 U.S. Dist. LEXIS

184389, at *17-19. Similarly, in Jamieson, the Ninth Circuit found Younger inapplicable



11
   See, e.g., L.H. v. Jamieson, 643 F.2d 1351, 1352-54 (9th Cir. 1981) (“Jamieson”); Wyatt
B. v. Brown, No. 6:19-cv-00556, 2021 U.S. Dist. LEXIS 184389 (D. Or. Sep. 27, 2021);
Tinsley, 156 F. Supp. 3d at 1030-41; Jonathan R., 41 F.4th at 334; Connor B. v. Patrick,
771 F. Supp. 2d 142, 153-58 (D. Mass. 2011); D.G. v. Yarbrough, No. 08-CV-074, 2011
U.S. Dist. LEXIS 145775 (N.D. Okla. Dec. 16, 2011); Dwayne B. v. Granholm, No. 06-
13548, 2007 U.S. Dist. LEXIS 28265, at *17-27 (E.D. Mich. Apr. 17, 2007); Olivia Y. v.
Barbour, 351 F. Supp. 2d 543, 565-70 (S.D. Miss. 2004); Kenny A. ex rel. Winn v. Perdue,
218 F.R.D. 277, 285-89 (N.D. Ga. 2003); Brian A. ex rel. Brooks v. Sundquist, 149 F. Supp.
2d 941, 957 (M.D. Tenn. 2000); People United for Children, Inc. v. City of New York, 108
F. Supp. 2d 275, 289-92 (S.D.N.Y. 2000); Marisol A. v. Giuliani, 929 F. Supp. 662, 688-
89 (S.D.N.Y. 1996).
12
   Tinsley, 156 F. Supp. 3d at 1026; Wyatt B., 2021 U.S. LEXIS 18439; see also Wyatt B.
v. Brown, No. 19-cv-00556, 2022 U.S. Dist. LEXIS 147091, at *3-7 (D. Or. Aug. 17, 2022)
(certifying a general class of all children who are or will be in foster care and several
subclasses).
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to cases involving claims by foster children unless they were seeking to enjoin []state

proceeding,” or seeking to “enjoin state officials from enforcing [] state law.”13 643 F.2d

at 1354. Plaintiffs here do not seek either of these remedies. Younger thus does not apply.

       Courts within the Ninth Circuit have rejected abstention because of the high

standard a defendant must clear. First, Defendants must prove that the requested relief

involves review of judicial rather than executive action. New Orleans Public Serv., Inc. v.

Council of City of New Orleans, 491 U.S. 350 (1989) (“NOPSI”). Second, following the

Supreme Court’s decision in Sprint, Younger abstention is only applicable if Defendants

can show that the judicial proceedings at issue fall into one of three “exceptional”

circumstances. Sprint, 571 U.S. at 77 (quoting NOPSI, 491 U.S. at 368). Defendants must

show that the proceedings are either “criminal prosecutions,” “certain civil enforcement

proceedings” (often discussed as “quasi-criminal proceedings”), or “civil proceedings


13
   The Ninth Circuit dismissed Jamieson on grounds unrelated to the Younger abstention,
which are not at issue in this action. Defendants incorrectly claim that Jamieson is “no
longer good law” because “the Ninth Circuit no longer requires that the plaintiff “seek to
enjoin” a state proceeding but only need to “effectively enjoin” a state proceeding. D. Br.
at 31. Defendants point to one Ninth Circuit case, Citizens for Free Speech, LLC v. County
of Alameda, 953 F.3d 655 (9th Cir. 2020), but there is no discussion in the case—nor
evidence to support—that the Ninth Circuit meant to create a different test that somehow
implicitly overturns Jamieson. Furthermore, not only has this case not been overturned, but
it has also been cited by courts that have refused to abstain under Younger in similar factual
circumstances. See e.g., M.D. v. Perry, 799 F. Supp. 2d 712 (S.D. Tex. 2011). Defendants
also make a meritless attempt to distinguish Jamieson on the basis that the plaintiffs in
Jamieson sought to require the state to reimburse private child-caring agencies and that this
claim was “not of a sort that would be presented during the normal course of a state
proceeding.” D. Br. at 32. But, as discussed in Section III(A)(2)(b), this case is no different
in that respect. Last, Defendants claim that Jamieson is not relevant because Plaintiffs have
not pled “bad faith, harassment or flagrant violation of express constitutional prohibitions
by a state or local actor.” D. Br. at 33. But Jamieson did not rely on such a finding nor is
such a finding required.
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involving certain orders uniquely in furtherance of the state courts’ ability to perform their

judicial functions.”14 Sprint, 571 U.S. at 78.

         Third, if and only if, Defendants establish that Plaintiffs’ claims implicate ongoing

quasi-criminal proceedings, they must also show that the claims meet three additional

factors enumerated in Middlesex County Ethics Comm. v. Garden State Bar Ass’n, 457

U.S. 423, 432 (1982). Here, Defendants fail to meet the three additional factors discussed

below.

                1.     Abstention Under Younger Is Inappropriate

                       a.     Younger Abstention is Inappropriate Because Plaintiffs Ask the
                              Court to Review Executive Action, not Judicial Action

         Younger abstention is inappropriate where Plaintiffs ask a court to review

“legislative or executive action” as opposed to judicial action.15 NOPSI, 491 U.S. at 368

(Younger does not “require[] abstention in deference to a state judicial proceeding

reviewing legislative or executive action. Such a broad abstention requirement would make

a mockery of the rule that only exceptional circumstances justify a federal court’s refusal



14
   Even before the 2013 Sprint decision in which the Supreme Court narrowed Younger
abstention considerably to apply to just the three exceptional categories noted above, the
“overwhelming majority of cases” had “rejected Younger abstention” in “lawsuits
challenging foster care systems.” M.D., 799 F. Supp. 2d at 723.
15
   Defendants’ citation to Karen L. v. State, Department of Health & Social Services,
Division of Family & Youth Services, 953 P.2d 871, 877 (Alaska 1998) (D. Br. at 13 n.46)
is misleading. Defendants cite this case for the proposition that the Alaska Supreme Court
has found that state courts are the “proper forum for addressing complaints about foster
care placement and treatment.” But, in that case, the Alaska Supreme Court dismissed
claims against the social workers on the basis that the social workers owed no duty of care
to the mother in a CINA case. Defendants cite to no case where children were able to
successfully bring actions such as the one here in Alaska state courts—nor can they.
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to decide a case in deference to the States.”). Defendants here provide extensive

background information on the role of CINA courts in abuse and neglect proceedings, but

they do not (nor can they) point to any allegation or request for relief concerning the

processes, operations, or rulings of CINA courts.16 Numerous courts have rejected

Defendants’ same argument that Plaintiffs’ claims against executive branch defendants

implicate judicial action. See, e.g., Tinsley, 156 F. Supp. 3d at 1043-44 (finding abstention

improper where plaintiffs “do not allege any statutory or constitutional violations in the

procedure or administration of the juvenile courts. Nor is Plaintiffs’ suit an indictment of

the juvenile courts for failing to address these constitutional issues.”).17 Abstention is

unwarranted.



16
   Even if the Court were to find that Plaintiffs were requesting a review of judicial action—
which they are not—this would not be grounds for an abstention because Younger
abstention does not apply to proceedings involving “reviewing . . . executive action.” See
M.D., 799 F. Supp. 2d at 718 (“Younger abstention does not extend to judicial proceedings
that, like those at issue here, are focused solely upon review of executive actions.”); see
also Connor B., 771 F. Supp. 2d at 154 (declining to abstain under Younger where “the
state court proceeding is limited to a review of executive action”).
17
   See also Kenny A., 218 F.R.D. at 286 (“Although plaintiffs all have periodic reviews
before the state juvenile courts, the declaratory and injunctive relief plaintiffs seek is not
directed at their review hearings, or at Georgia’s juvenile courts, juvenile court judges, or
juvenile court personnel. Rather, plaintiffs seek relief directed solely at executive branch
defendants to remedy their alleged failures as plaintiffs’ custodians.” (emphasis in
original)); Dwayne B., 2007 U.S. Dist. LEXIS 28265, at *20 (“Defendants’ claim that there
are ongoing judicial proceedings is misleading. While it is true that Michigan has in place
a juvenile court system that sets out procedures for bringing and maintaining a child under
that court’s jurisdiction and there may be some ongoing juvenile court proceedings for
individual foster care children, this lawsuit does not seek to interfere with any such
proceedings.”); Brian A., 149 F. Supp. 2d at 957 (no Younger abstention in lawsuit brought
by foster children because relief sought was against executive branch and “nothing about
this litigation seeks to interfere with or enjoin ongoing and pending state juvenile
proceedings”).
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                     b.      Younger Abstention is Inappropriate Because the Hearings at
                             Issue Are Not Quasi-Criminal

       Sprint defined the category of “quasi-criminal enforcement proceedings” as “akin

to a criminal prosecution in important respects” and that “[s]uch enforcement actions are

characteristically initiated to sanction the federal plaintiff, i.e., the party challenging the

state action, for some wrongful act.” Sprint, 571 U.S. at 78 (internal quotation marks

omitted).18

       Defendants, relying on Moore v. Sims, claim that all hearings in CINA courts fall

into the category of “quasi-criminal enforcement proceedings.”19 D. Br. at 20-21 (442 U.S.

415 (1979)). But Defendants’ reliance on Moore is inapt. There, the state court proceeding

at issue was the initial removal of children from plaintiff parents accused of abuse or

neglect. 442 U.S. at 423. The Supreme Court found that “the State was a party to the state

proceedings, and the temporary removal of a child in the child-abuse context was, in aid of

and closely related to criminal statutes.” Id. Moore is distinguishable from the case here in

which Plaintiffs are foster children alleging constitutional and statutory violations while in


18
    See also Tinsley, 156 F. Supp. 3d at 1034 (defining quasi-criminal enforcement
proceedings as those where the “animating purpose” is to “investigate or penalize” whereas
the juvenile court reviews have “an indirect relationship to the enforcement of criminal
laws.”); see, e.g., Huffman v. Pursue, Ltd., 420 U.S. 592 (1975) (obscenity); Trainor v.
Hernandez, 431 U.S. 434 (1977) (welfare fraud); Moore, 442 U.S. 415 (child abuse);
Middlesex, 457 U.S. 423 (attorney misconduct).
19
   In Moore, the Texas Department of Human Services took temporary custody of children
in a suspected abuse case and instituted a suit for emergency protection, which the Texas
juvenile court granted. 442 U.S. 415. While proceedings were ongoing in the state courts,
instead of appealing state court decisions or moving to expedite hearings, the parents of
the children filed suit in the United States District Court for the Southern District of Texas,
challenging the constitutionality of Texas statutes regarding permissible state intervention
in parent-child relationships. Id.
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the State’s custody. Plaintiffs’ claims here are not in aid of or closely related to criminal

statutes.

       Courts have distinguished Moore in cases similar to this one. In Tinsley, the court

distinguished Moore as a challenge to “the means by which Plaintiffs enter DCF custody”

from the complaint in Tinsley which “addresses the experiences children have after they

are determined dependent and placed in state custody, not the proceedings which led to

that custody.” 56 F. Supp. 3d at 1034. The Tinsley court found that the periodic review

hearing which take place once a child is determined dependent and placed in state custody

was not quasi-criminal as “[t]he animating purpose of the ongoing dependency proceedings

in this case is to plan for and monitor the development and well-being of children, not to

investigate or penalize those who might have contributed to their dependency.” Id. Unlike

in Moore, “where an immediate threat of criminal harm warranted the removal of children

from the custody of the parents without a hearing,” the ongoing reviews did “not qualify

as quasi-criminal for the purposes of Younger.” Id.

       Courts in the Fifth Circuit (from which Moore originated) have also subsequently

rejected Younger abstention in the foster care class action context. M.D., 799 F. Supp. 2d

at 726; see also M.D. ex rel. Stukenberg v. Perry, 675 F.3d 832, 835 (5th Cir. 2012)

(exercising jurisdiction over class action alleging “class-wide injuries caused by systemic

deficiencies” in Texas’ administration of child welfare system). The Fourth Circuit




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similarly found that Moore applies to “child-removal proceedings” only, and not to the

“ongoing individual hearings.” 20

       Defendants’ claim that Younger applies to state abuse-and-neglect proceedings is

misleading. See D. Br. at 19. In most of Defendants’ cited cases, the courts based their

abstention decision on the relief sought—not on any analysis of whether the hearings at

issue fit under one of Sprint’s “exceptional circumstances.” See 31 Foster Children v. Bush,

329 F.3d 1255 (11th Cir. 2003); Joseph A. v. Ingram, 275 F.3d 1253 (10th Cir. 2002);

Oglala Sioux Tribe v. Fleming, 904 F.3d 603 (8th Cir. 2018). For example, in 31 Foster

Children, the court stated that plaintiffs were “placing decisions that are now in the hands

of the state courts under the direction of the federal district court.” 329 F.3d at 1278.21



20
   The Fourth Circuit also stated that the hearings at issue “do not fit any historical
precedent applying the doctrine. And abstaining here would forward none of the comity
interests our federalist system holds dear.” Jonathan R., 41 F.4th at 328. Defendants
attempt to distinguish Jonathan R. in a footnote on several bases—all of which are
meritless. D. Br. at 19 n.72. For example, Defendants argue that Jonathan R. is wrong
because the court misinterpreted Moore as only applying to initial removal hearings, not
ongoing hearings in the same case. But, as previously noted, other courts, including courts
in the Ninth Circuit, have made the exact same finding, which is consistent with the
language of Sprint. See, e.g., Tinsley, 156 F. Supp. 3d at 1033-34. Second, Defendants
argue that Jonathan R. was wrong because “neither Moore nor Sprint held that culpability
is relevant to whether Younger applies.” But Defendants miss the fact that Sprint itself
described the quasi-criminal enforcement category as those “characteristically initiated to
sanction the federal plaintiff, i.e., the party challenging the state action, for some wrongful
act.” 571 U.S. at 78.
21
   The court in A.A. v. Buckner, No. 2:21CV367, 2021 U.S. Dist. LEXIS 209247 (M.D.
Ala. Oct. 29, 2021) (D. Br. at 19 n.72), distinguished 31 Foster Children stating that “[t]he
systemic relief sought in the complaint, however, is distinguishable from the relief in 31
Foster Children” and found persuasive another opinion also distinguishing 31 Foster
Children on the basis that there, unlike 31 Foster Children, “plaintiffs did not ask for
individualized determinations with respect to particular foster children, but sought relief
on a system-wide basis in the form of reforms to ensure that deprived children’s
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       In Joseph A., the Tenth Circuit court remanded the case to determine if the

provisions of a proposed settlement agreement were enforceable in light of Younger. 275

F.3d at 1272-73; Joseph ex rel. Wolfe v. N.M. Dep’t of Human Servs., No. 80-cv-623, 2003

U.S. Dist. LEXIS 29996, at *11 (D.N.M. Jan. 16, 2003) (holding, the settlement

enforceable with the exception of one provision.). In this case, different from both 31

Foster Children and Joseph A., none of the relief sought would interfere with the juvenile

court’s operation. When it reaches the issue of relief, this court can easily disallow any

relief that might interfere with state court proceedings. More importantly, these cases,

which are now bad law, analyze abstention in a way that Sprint forbids—they apply the

Middlesex factors without determining first whether the case falls into one of the three

“exceptional circumstances.”22

       Oglala Sioux Tribe is also inapposite because it specifically pertained to “temporary

custody proceedings” and the Eighth Circuit found “no meaningful distinction between the

custody proceedings in Moore and the temporary custody proceedings in South Dakota.”

904 F.3d at 610. In fact, the plaintiffs in Oglala (tribes and parents) asked for relief that

would directly interfere with state court proceedings—i.e., “an order that would dictate a

host of procedural requirements for the ongoing state proceedings.” Id.23



constitutional and statutory rights are not violated.” Id. at *18 (citing Kenny A., 218 F.R.D.
at 288).
22
   See Jonathan R., 41 F.4th at 332 (distinguishing 31 Foster Child, Joseph A., and Ashley
W. because they “relied on the Middlesex factors alone, without determining whether the
state periodic hearings were the type of proceedings Younger has traditionally applied to.”).
23
   See Jonathan R. 41 F.4th at 332 (distinguishing Oglala because it “fit neatly into the
quasi-criminal category: It was brought by parents whose children were taken into state
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       Vaughn:Douce v. New Jersey Division of Child Protection & Permanency is also

off point because it is squarely in line with Moore since the lawsuit concerned the initial

removal process by which the New Jersey Division of Child Protection and Permanency

(“NJDCPP”) “conducted an investigation and initiated the proceedings by filing a formal

complaint against [plaintiff] to terminate his parental rights.”24 No. 21-cv-1596, 2021 U.S.

App. LEXIS 23069, at *6 (3d Cir. Aug. 4, 2021).

       Last, Ashley W. v. Holcomb, 34 F.4th 588 (7th Cir. 2022) is not reliable law and has

been swiftly criticized.25 In that case, the Seventh Circuit incorrectly summarized Moore,

stating that “[w]e know from Moore v. Sims [] that Younger applies to state-initiated child-

welfare litigation.” Id. at 591. Aside from this one citation to Moore, the Seventh Circuit




custody and challenged in federal court the very decision to take them away.”). Defendants
also cite to several other inapposite court cases (D. Br. 20 n.73, n.74), which as Defendants
note, are pre-Sprint and thus no longer good case law. See Zimmermann v. Gregoire, 18 F.
App’x. 599, 600-01 (9th Cir. 2001) (finding that plaintiffs’–who were parents or
guardians—briefs “fail to provide an understandable statement of facts, or an
understandable argument, or an understandable analysis in support of the remedy they are
seeking.”); A.A., 2021 U.S. Dist. LEXIS 209247, at *18-19 (finding that requests for
specific placement decisions in individual custody cases were covered by Younger, but that
other systemic relief sought was not); Sam M. ex rel. Elliott v. Chafee, 800 F. Supp. 2d 363
(D.R.I. 2011) (concluding that certain claims for certain relief fell under Younger
abstention but denying abstention in connection with claims for caseload limitations for
caseworkers, adequate training, and an increase in the array and type of placements,
including foster homes); J.B. ex rel. Hart v. Valdez, 186 F.3d 1280, 1291 (10th Cir. 1999)
(only analyzing the Middlesex categories without any analysis of whether the proceedings
were quasi-criminal); Laurie Q. v. Contra Costa County, 304 F. Supp. 2d 1185 (N.D. Cal.
2004) (same); Carson P .v. Heineman, 240 F.R.D. 456, 511-512 (D. Neb. 2007) (same).
24
   Appellant parent claimed that his daughter was “being held in an illegal action for private
financial gain” and that NJDCCP was “attempting to use [a] psychologist to fabricate a
report to the[ir] benefit to prolong, in order to assure[] th[eir] profit.” Id. at *2.
25
   See Jonathan R., 41 F.4th at 332.
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made no effort to analyze the proceedings in Indiana. Moreover, in relying solely on the

Middlesex factors without the predicate analysis of whether the proceedings at issue were

quasi-criminal, the Seventh Circuit violated abstention law as set forth in Sprint. See

Jonathan R., 41 F.4th at 332.

       Defendants also argue without citation that there is no distinction between the

“initial child-removal proceedings” and “ongoing individual hearings that serve to protect

the children.” D. Br. at 19 n.72.26 But Alaska’s process in which there are initial child-

removal proceedings and separate, ongoing hearings to review the child’s welfare in

custody is no different from any other state, including those in the Ninth Circuit.27


26
   Defendants cite to Alyssa B. v. State, 165 P.3d 605 (Alaska 2007) to argue that a
termination proceeding continues earlier proceedings in the existing CINA case. D. Br. at
19 n.72. Alaska is not different from any other state in that respect. As stated previously,
other courts, including those within the Ninth Circuit have already distinguished Moore on
this basis. The cited cases are not in the context of constitutional and statutory claims on
behalf of foster children, nor are they related to Younger abstention. See Alyssa B., 165
P.3d at 612 (time for right to object to judge in case where parental rights were terminated
ran from notice of judge’s assignment in the action, not the petition for termination of
parental rights). Nor is it relevant that a CINA court must act in the child’s best interests at
all times. See OCS v. Michelle P., 411 P.3d 576, 584 (Alaska 2018) D. Br. at 19 n.72.
27
   See Wyatt B., 2021 U.S. Dist. LEXIS 184389, at *9, 15-16 (detailing Oregon’s child
welfare proceedings); Tinsley, 156 F. Supp. 3d at 1027-28 (detailing Arizona’s child
welfare proceedings). Child welfare proceedings begin with an initial hearing where the
court determines whether continued placement with the parent is in the best interests of the
child. See AS 47.10.142; ARS 8-824; ORS 419B.185, 419B.183. This is followed by an
adjudication hearing where the court hears evidence concerning the best interests of the
child. See AS 47.10.80; ARS 8-844; ORS 419B.325. This is followed by a disposition
hearing regarding placements and services for the child and parents. See AS 47.10.82,
47.10.80; ARS 8-845; ORS 419B.325, 419B.305. Finally, the court reviews the case at
periodic intervals. See AS 47.10.80; ARS 8-847; 8-862; ORS 419B.449. Even Defendants
do not claim that the CINA courts actually make placement decisions and, indeed Alaska
would be ineligible for federal funding if it claimed that the superior courts, not the
executive branch official of the child welfare system, were responsible for deciding where
a child should be placed. D. Br. at 9-10; 42 U.S.C. § 672(a)(2)(B) (children must be in the
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       Defendants also incorrectly argue that if this Court were to hear this case, it would

“allow[] a child to run to federal court to enjoin potentially adverse state court rulings.” D.

Br. at 19 n.72. As discussed in detail in this brief, Plaintiffs do not seek to force the CINA

courts to make specific decisions with respect to each Plaintiff. Instead, Plaintiffs seek

class-wide, systemic relief as against Defendants, such that Plaintiffs and others in the

General Class will not be harmed or be placed at risk of harm.28

                     c.      Younger Abstention is Inappropriate Because This Case Does
                             Not Involve Civil Proceedings Involving Certain Orders
                             Uniquely in Furtherance of the State Courts’ Ability to
                             Perform Their Judicial Function

       As a final attempt at claiming that Younger abstention should apply, Defendants

state that even if the proceedings at issue were not “quasi-criminal,” this case involves the

third Younger category or “civil proceedings involving certain orders uniquely in

furtherance of the state courts’ ability to perform their judicial function.” D. Br. at 21.29




custody of an executive branch agency responsible for “the child’s placement and care”
before a state can receive federal funds).
28
   See Jamieson, 643 F.2d at 1354 (holding that “requesting an order that would require
Arizona to spend more money to fund dispositional alternatives for juveniles in state
custody” would “enrich the variety of dispositional alternatives available to a juvenile court
judge, and, to this extent, affect pending and ongoing state juvenile proceedings” but does
not “have the wholly disruptive consequences associated with enjoining a state judicial
proceeding or enjoining further enforcement of a state statute.”); Tinsley, 156 F. Supp. 3d
at 1037 (“[T]he juvenile courts rule on individual cases, not how to remedy deficiencies in
the overall administration of foster care. As such, the requested relief would not interfere
with the functioning of the juvenile courts.”).
29
   Defendants claim that this is because “superior courts often issue orders about placement,
services, and other issues, which they then oversee through regularly held status hearings
and other proceedings.” Id. Defendants fail to further elaborate on this.
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This category has been applied only in very narrow settings where request for relief

implicates the administration of the judiciary. Jonathan R., 41 F.4th at 331.

       The Supreme Court has only twice found that a case fell into this category. See id.

at 330. First, in Juidice v. Vail, 430 U.S. 327 (1977) (cited at D. Br. at 21 n.80), which

concerned a state contempt order, and second in Pennzoil Co. v. Texaco, Inc., 481 U.S. 1

(1987), where the court applied it to a federal challenge to Texas’s appeal-bond provisions.

The Pennzoil court explained that, like Juidice, that case “involve[d] challenges to the

processes by which the State compels compliance with the judgments of its courts” and

enjoining that process would “interfere with the execution of state judgments” and also “do

so on the grounds that challenge the very process by which those judgments were

obtained.” Id. at 13-14. However, “[t]he foster-care periodic hearings, of course are nothing

of the sort.” Jonathan R., 41 F.4th at 331. “The state court’s usual rulings during those

hearings involve approving foster-care plans, ordering payments for medical or mental-

health services, affirming out-of-state transfers, and generally ensuring the children’s

placements continue to be in their best interest. . . [n]othing about that implicates ‘the

administration’ of [the] judiciary.” Id. at 331.30




30
  Defendants also fail to explain how the fact that “superior courts often issue orders about
placement, services, and other issues, which they then oversee” warrants Younger
abstention. D. Br. at 21. But courts have rejected just such as argument. See Jonathan R.,
41 F.4th at 331 (“A party resisting federal litigation would always be able to claim that
future state orders might be necessary to ‘oversee[ ] compliance’ with initial ones and that
any parallel federal litigation might inhibit state authority to do so.”).
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       Defendants’ arguments are meritless, and this case does not fit into any Sprint

category. Even if the Court finds that this case pertains to quasi-criminal proceedings—

and it should not—this case does not satisfy the Middlesex factors.

              2.     This Case Does Not Satisfy The Middlesex Factors

       Defendants cannot show that Plaintiffs’ claims meet the Middlesex test or that:

(1) the injunctive or declaratory relief sought interferes with ongoing state court

enforcement proceedings; (2) there is an adequate opportunity for the plaintiffs to raise

their federal claims in those state court proceedings; and (3) the ongoing state court

proceedings implicate an important state interest. See Middlesex, 457 U.S. at 432, 437.

                     a.      The Relief Sought in This Case Does Not Interfere with an
                             Ongoing State Court Enforcement Proceeding

       Defendants incorrectly claim that the relief that Plaintiffs request would “limit

superior courts’ authority to make the fact-intensive decisions they make every day in

CINA cases.”31 D. Br. at 24. Defendants ignore that Plaintiffs seek systemic injunctive

relief meant to remedy class-wide constitutional and federal law violations by Defendants,

not the judiciary. See Brown v. Lexington County, No. 17-cv-1426, 2018 U.S. Dist. LEXIS

113976, at *20-21 (D.S.C. July 9, 2018) (where plaintiffs are not seeking a review of

Plaintiffs’ individual state court decisions but rather “a declaration that Defendants’ alleged




31
   Plaintiffs make 18 specific demands for injunctive relief, all of which are directed at
actions of Defendants, not the Alaska courts. These demands include requiring Defendants
to maintain caseloads within professional standards, review the individualized needs of
foster children, and conduct annual case reviews to measure whether foster children receive
timely permanence, as required by federal law. ¶¶91-95.
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[executive] policies or practices . . . are unconstitutional, and an injunction enjoining those

practices . . . the first Middlesex factor is not satisfied”).32

       Indeed, Plaintiffs request relief that would make Defendants comply with federal

law and their constitutional obligations; Plaintiffs are not seeking any specific decisions in

any individual CINA cases. Defendants do not (and cannot) explain how seeking an

injunction that Defendants, for example, “place children in placements that are safe,

appropriate, and in the least restrictive environment that best suits their individual needs”

would interfere with the court’s discretion.33 See D. Br. at 25. This relief “does not interfere




32
   See, e.g., Jamieson, 643 F.2d at 1354 (finding Younger abstention unwarranted because
relief sought did not “have the wholly disruptive consequences associated with enjoining
a state judicial proceeding”); Tinsley, 156 F. Supp.3d at 1037-38 (relief sought “does not
interfere with the juvenile courts’ authority or ability to order initial child placements or to
review the adequacy of placements.”); Connor B., 771 F. Supp. 2d at 157 (“Any indirect
impact this case has on the juvenile courts is slight and fails to rise to the requisite level of
interference”); Dwayne B., U.S. Dist. LEXIS 28265, at *20 (finding that relief sought
would not interfere because “[t]he relief sought here is not directed at the juvenile courts.
It is directed at the executive branch.”); Olivia Y. v. Barbour, No. 3:04CV251LN, slip op.
at 2 (S.D. Miss. Aug. 29, 2006) (“the court is not persuaded that any relief which this court
may grant, in the event plaintiffs were to establish a constitutional violation, would
necessarily impinge on the jurisdiction and prerogative of the state’s Youth Courts.”);
Olivia Y., 351 F. Supp. 2d 543 at 570 (stating that the court would be “hard-pressed to
conclude that any specific relief plaintiffs seek in this action would necessarily interfere
with ongoing youth court proceedings”); Kenny A., 218 F.R.D. at 286 (finding no
interference because “the declaratory and injunctive relief plaintiffs seek is not directed at
their [periodic juvenile court] review hearings, or at Georgia’s juvenile courts, juvenile
court judges, or juvenile court personnel. Rather, plaintiffs seek relief directed solely at
executive branch defendants to remedy their alleged failures as plaintiffs’ custodians.”);
Brian A., 149 F. Supp. 2d at 957 (observing that “nothing about this litigation seeks to
interfere with or enjoin” ongoing state juvenile proceedings).
33
   Defendants’ arguments about Rule 65 and the prematurity thereof are addressed infra at
Section III(C).
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with the juvenile courts’ authority or ability to order initial child placements or to review

the adequacy of placements.” Tinsley, 156 F. Supp. 3d at 1037.

       Next, Defendants commit several pages to discussing the CINA court’s role in

reviewing placement decisions and point to several orders in Plaintiffs’ CINA cases .34 But

in Alaska, it is OCS, not the courts, that is responsible for making placements, and courts

only serve a supervisory role and cannot substitute judgment.35 See, e.g., State v. E.E., 912


34
   As discussed herein and in Plaintiffs’ Opposition to Defendants’ Motion to Take Judicial
Notice of Pleadings and Orders From the Named Plaintiffs’ CINA Cases, the Court should
not take judicial notice of the findings of fact in any court order.
35
   See e.g., AS 47.10.086 (“[t]he department shall make timely, reasonable efforts to
provide family support services to the child and to the parents or guardian of the child that
are designed to prevent out-of-home placement of the child or to enable the safe return of
the child to the family home, when appropriate, if the child is in an out-of-home placement.
The department’s duty to make reasonable efforts under this subsection includes the duty
to: (1) identify family support services that will assist the parent or guardian in remedying
the conduct or conditions in the home that made the child a child in need of aid; (2) actively
offer the parent or guardian, and refer the parent or guardian to, the services identified
under (1) of this subsection; the department shall refer the parent or guardian to
community-based family support services whenever community-based services are
available and desired by the parent or guardian; and (3) document the department’s actions
that are taken under (1) and (2) of this subsection. (a) If the court makes a finding at a
hearing conducted under AS 47.10.080(l) that a parent or guardian has not sufficiently
remedied the parent’s or guardian’s conduct or the conditions in the home despite
reasonable efforts made by the department in accordance with this section, the court may
conclude that continuation of reasonable efforts of the type described in (a) of this section
are not in the best interests of the child. The department shall then make reasonable efforts
to place the child in a timely manner in accordance with the permanent plan and to complete
whatever steps are necessary to finalize the permanent placement of the child.”) (emphasis
added); CINA Rule of Procedure Rule 10.1(1)(A) (“If the Department has taken emergency
custody of a non-Indian child under AS 47.10.142, the court shall inquire into and
determine at the temporary custody hearing whether the Department has made reasonable
efforts as required by AS 47.10.086(a) to prevent out-of-home placement, or whether it
was not possible under the circumstances to make efforts that would have prevented
removal of the child.”); CINA Rule of Procedure Rule 10.1(1)(B) (“At any other hearing
at which the court is ordering a non-Indian child’s removal from the home, the court shall
inquire into and determine whether the Department has made reasonable efforts as required
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P.2d 1, 2 (Alaska Ct. App. 1996) (finding the “superior court enjoyed no greater authority

to dictate the department’s placement or treatment of children in need of aid” and that “in

the context of CINA proceedings, the supreme court has expressly held that ‘the legislature

has committed placement decisions to the Department’s discretion. The various statutory

provisions indicate that the Department, not the court, has expertise on the availability and

suitability of placements for minors in its legal custody’”) (quoting In re B.L.J., 717 P.2d

376, 380 (Alaska 1986)).36 This is no different from other cases, including in the Ninth

Circuit, that have found that abstention is improper even where state courts review a child

welfare organization’s actions, including actions taken as to placements and services. 37



by AS 47.10.086(a) to prevent out-of-home placement, unless the court has previously
determined under Rule 17.1 that reasonable efforts are not required.”) (emphasis added).
36
   To support their claim that state courts would be “enjoined” from making case-by-case
placement decisions, Defendants cite to wholly irrelevant case law. See, e.g., Alyssa B.,
165 P.3d 605 (D. Br. at 26 n.95) (denying a jury trial where the mother argued that the
superior court had violated her due process rights by conducting a termination trial in her
absence). The Alyssa B. decision does not find that placement decisions are a unique
function of the court and finds a placement-related request to be moot.
37
   See, e.g., Wyatt B., 2021 U.S. Dist. LEXIS 184389, at *17 (finding abstention improper
and stating that “[a]lthough the Oregon juvenile courts have an important role in the child
welfare system, significant aspects of that system, such as the specifics of a child’s
placement or the planning and provision of services, are reserved to [the Department of
Human Services]”); Tinsley, 156 F. Supp. 3d at 1037-38 (finding the “decision of the Court
will not disrupt individual placements or specific foster homes” “though the juvenile court
‘may’ order the placement of a child following a determination of dependency, Arizona
law permits [the Department of Child Safety] under some circumstances to place children
in foster homes subject only to ratification by the juvenile court”); see M.D., 799 F. Supp.
2d at 720 (finding that even where CINA courts “have conducted detailed reviews of each
child’s placement and condition since entering foster care, and have enter[ed] orders that
are in the best interests of the children,” this does not warrant abstention). As discussed
above in connection with Defendants’ arguments under Younger, this case does not
interfere with ongoing court proceedings and is dissimilar from the state contempt order in
Juidice or the appeal-bond provisions in Pennzoil. See Section III(A)(1) supra: Juidice,
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Such a lawsuit would ultimately aid the ongoing state proceedings, not interfere with them”

and these orders “do not address whether the child’s treatment in foster care satisfies

constitutional demands, the central concern of this lawsuit.” Id.

       Defendants argue that the relief Plaintiffs seek would “effectively enjoin the state

court litigation that covers all of these complex, individualized issues” and “could

substantially delay” a state court proceeding and have the “practical effect of enjoining

[it].”38 D. Br. at 30. Again, this is incorrect. By “seeking systemic changes that would

improve the foster care system” for all class members, the injunctive relief will “ultimately

aid the ongoing state proceedings, not interfere with them.” M.D., 799 F. Supp. 2d at 720.39

For this reason, most cases that have considered relief that would expand the availability




430 U.S. 327; Pennzoil Co., 481 U.S. 1. See ReadyLink Healthcare, Inc. v. State Comp.
Ins. Fund, 754 F.3d 754, 759 (9th Cir. 2014) (Younger abstention was inappropriate
because the federal suit did not involve “the process by which a state compel[s] compliance
with the judgments of its courts.”) (internal citations omitted).
38
   Defendants cite to several cases in support of this argument (D. Br. at 30 n.114), all of
which are distinguished above in Section III(A)(1)(C). Moreover, “there is no reason to
dismiss the case en masse before the district court has even had the opportunity to sketch
out potential contours of relief.” Jonathan R., 41 F.4th at 328.
39
   See also L.H. v. Jamieson, 643 F.2d 1351, 1354 (9th Cir. 1981) (Younger not implicated
where “relief may enrich the variety of dispositional alternatives available to a juvenile
court judge, and, to this extent, affect pending and ongoing state juvenile proceedings”);
see also Kenny A., 218 F.R.D. at 286-87 (“[T]he only conceivable effect on state court
proceedings that could flow from [decreased case worker caseloads] would be caseworkers
appearing in juvenile court who are better prepared” and declining to abstain since the relief
“would at most simply support and further the juvenile court’s own mission of ensuring
that children removed from their parents’ custody because of abuse or neglect are not
further harmed.”).
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of placements and services to foster children have held that such relief does not interfere

with ongoing juvenile court proceedings.40

                      b.     Alaska’s CINA Proceedings Do Not Provide an Adequate
                             Forum For Claims Alleging Systemic Constitutional and
                             Federal Statutory Violations

       Under the second Middlesex prong, plaintiffs must also have an adequate

opportunity to present their federal claims in the state court proceeding. Middlesex, 457

U.S. at 432. Here, CINA proceedings are an inappropriate forum for Plaintiffs to remedy

the systemic, agency-wide constitutional violations at issue.

       CINA courts are tasked with adjudicating questions of family law, not with crafting

broad-based injunctive relief concerning an executive agency. In fact, courts have

repeatedly held that family court proceedings are not appropriate forums for a “multi-

faceted class-action challenge to the [State’s] administration of its entire foster-care

system.” 41 LaShawn, 990 F.2d at 1322-23; see also Jamieson, 643 F.2d at 1354 (claims


40
   See, e.g., Tinsley, 156 F. Supp. 3d at 1037 (D. Ariz. 2015) (“The request by Plaintiffs for
‘practices to ensure a minimally adequate capacity and array of placements’ . . . does not
interfere with the juvenile courts’ authority or ability to order initial child placements or to
review the adequacy of placements.”); Wyatt B., 2021 U.S. Dist. LEXIS 184389 (where
plaintiffs asked for systemic relief to address, among other things, placements and services,
court declined to abstain, instead stating that the court would continue considering the
scope of equitable relief should plaintiffs prevail); Connor B., 771 F. Supp. 2d at 154
(finding that “Defendants fail to show how the present case would interfere with ongoing
state proceedings” where injunctive relief requested regarded “determining the propriety
and safety of placements, the adequacy of services, the frequency of visitation, and that
appropriateness of DCF’s plans to achieve permanency for each child.”); M.D., 799 F.
Supp. 2d 718 (no Younger interference with placement review hearings which “primarily
review DFPS actions in relation to the foster child at issue”).
41
   See, e.g., Jonathan R., 41 F.4th at 332 (“[I]ndividual periodic [child welfare] hearings
do not afford an adequate opportunity for Plaintiffs to press their systemic claims”); M.D.,
F. Supp. 2d at 721 (declining to abstain under Younger because “[s]state court placement
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were “not of a sort that would be presented during the normal course of a state

proceeding.”).42 State proceedings address issues involving the care of a child by his or her



review hearings focus on whether the particular child’s needs are being met, not
overarching systemic concerns or constitutional violations.”); LaShawn A. by Moore v.
Kelly, 301 U.S. App. D.C. 49 (1993) (holding that family court neglect proceedings,
periodic review hearings, and termination proceedings are inadequate for raising
multifaceted, constitutional class action challenge to the administration of the child welfare
system); Connor B., 771 F. Supp. 2d at 158 (finding that state courts, tasked with handling
questions of family law on an ad-hoc basis, “cannot and do not” afford plaintiff foster
children an “adequate opportunity to seek relief for systemic failures”); Dwayne B., 2007
U.S. Dist. LEXIS 28265, at *21 (internal quotation marks omitted) (holding that “there is
no pending judicial proceeding which could serve as an adequate forum for the class of
children in this case to present its multifaceted request for broad-based injunctive relief
based on the Constitution and on federal and state law”); Kenny A., 218 F.R.D. at 287
(“Even in individual cases, the juvenile court cannot order [the child welfare agency] to
provide a particular placement for a child, develop new placements, or enter orders
requiring staff training, caseloads, the creation of new resources or other issues affecting
what happens to children who come before it.”); Brian A., 149 F. Supp. 2d at 957 (noting
that “[a]lthough technically Plaintiffs could raise constitutional questions in their
individual juvenile proceeding[s],” no such proceeding could serve as an adequate forum
for the broad injunctive relief sought by class-action plaintiffs); People United for
Children, Inc. v. City of New York, 108 F. Supp. 2d 275, 291 (S.D.N.Y. 2000) (“[T]he
Court does not believe that the Family Court can adequately consider plaintiffs’ claims in
the context of a multi-faceted lawsuit challenging a system-wide policy rather than
[agency] actions in individual cases.”); Sam M., 800 F. Supp. 2d at 382 (“[W]hile the
plaintiffs do not appear statutorily precluded from bringing claims in Family Court that
may amount to constitutional violations, it does not appear, under the alleged
circumstances of this case, that the Family Court would present an adequate forum to
address those claims and to afford complete relief to the plaintiff children.”). Defendants
improperly distinguish Connor B. and Kenny A., stating that their holdings are based on a
state court’s lack of authority with regard to placements. D. Br. at 22 n.85. However, the
driving force behind those decisions is that those courts, like the CINA courts here, were
unable to provide Plaintiffs with far-reaching class action relief.
42
   Defendants cite Pennzoil Co. for the mistaken proposition that Plaintiffs must show that
there is “unambiguous authority” stating they could not have brought their claims in the
related state court proceeding. D. Br. at 22 (citing Pennzoil Co., 442 U.S. at 430-31). But
this argument relies on old pre-Sprint case outside of the class action and child welfare
context and ignores the numerous cases since Pennzoil finding that state courts are
inadequate to hear claims nearly identical to Plaintiffs’ claims here.
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parent, and “are not suitable arenas in which to grapple with broad issues external to the

parent-child relationship.” LaShawn, 990 F.2d at 1323.43 Beyond that, CINA courts

conduct periodic reviews of individual foster care cases, approve placements, and when

necessary, terminate parental rights and/or approve adoptive parents or other legal

guardians. See Section III(A)(1)(B) infra. Those courts do not have jurisdiction to correct

widespread failings within DHSS and OCS and cannot order Defendants to change or alter

systemic issues, policies, or procedures (such as high caseworker caseloads). Defendants

have not cited any cases in CINA courts seeking systemic and class-wide relief (nor are

Plaintiffs aware of any). CINA courts do not incorporate the Federal Rules regarding class

certification, see CINA Rule 1(e), and under CINA Rule 1(g) are prohibited from adopting

rules and procedures that may “unduly delay or otherwise interfere with the unique

character and purpose of child in need of aid proceedings,” which a class action would

undoubtedly do.

       Plaintiffs could also never raise their constitutional class claims during their

individual proceedings for the practical reason that CINA proceedings are kept secret from

public view and it is difficult to access records from other cases. AS 47.10.090(e) (state

court Child in Need of Aid records confidential); AS 47.10.093(a) (Alaska OCS records

generally confidential and shall not be released “directly or indirectly to anyone without a



43
  See Brown v. Alexander, No. 13-01451 SC, 2013 U.S. Dist. LEXIS 175357, at *23 (N.D.
Cal. Dec. 13, 2013) (holding that family court did not provide an adequate forum for
plaintiffs’ systemic claims); Lahey v. Contra Costa Cty. Dep’t of Children & Family Servs.,
No. C 01-1075 MJJ, 2004 U.S. Dist. LEXIS 18292, at *32 (N.D. Cal. Aug. 31, 2004)
(same).
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court order.”). Thus, there is no precedent for plaintiffs or courts to rely on and inadequate

opportunity for class members to be aware of class claims or to join a class action.44

       Defendants argue that “superior courts have the authority to make decisions about

placements and services that bind OCS” and that CINA courts “routinely address complex

issues of federal law.” D. Br. at 23. But that is misleading. Those courts can review

individual OCS decisions for abuses of discretion and address federal statutes, such as

ICWA, that specifically pertain to child welfare in individual cases. See Dep’t of Health

and Soc. Servs. v. A.C., 682 P.2d 1131, 1134-35 (Alaska Ct. App. 1984) (“The superior

court may review the Department’s decision for abuse of that discretion, but the court may

not usurp the Department’s decision-making function or substitute its own view of the

minor’s best interests.”). But Defendants cite to no case (nor could they) where a CINA

court ordered any kind of far-reaching injunctive relief that addressed civil rights

violations. Defendants have not put forward any basis to show that Plaintiffs’ claims satisfy

the second Middlesex factor.




44
   Additionally, as Defendants acknowledge, Plaintiffs for the most part do not have the
right to an attorney in these proceedings. D. Br. at 11. In a similar case, one court agreed
that a child in foster care had no real chance to raise her constitutional claims in juvenile
court proceedings because, among other things, she was not represented by an attorney and
state law “did not provide [her] with a mechanism to present a claim against . . . state
defendants for their alleged violations of her constitutional rights.” Brokaw v. Weaver, 305
F.3d 668, 668 (7th Cir. 2002) (citing Ernst v. Child and Youth Servs. of Chester Cnty., 108
F.3d 486, 492 (3d Cir. 1997)).
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                       c.    This Suit Does Not Implicate an Important State Interest for
                             Younger Purposes

       Defendants make the conclusory claim that “there can be no dispute that Alaska’s

CINA proceedings implicate the State’s historical and compelling interest in ensuring the

safety and proper care of the children placed in its custody.” D. Br. at 21.45 But more is

required and Plaintiffs do not seek relief related to an area where an important state interest

predominates nor do they seek relief that touches the core of the state’s administration of

its judicial system.

       Indeed, the “important state interest” prong cannot be met where a child welfare

system is also governed by substantial federal statutes, oversight, and policy. This is

because “[t]he goal of Younger abstention is to avoid federal court interference with

uniquely state interests such as preservation of these states’ peculiar statutes, schemes, and

procedures.” AmerisourceBergen Corp. v. Roden, 495 F.3d 1143, 1150 (9th Cir. 2007)

(emphasis in original). There is no unique or predominating state interest where, as here,

in exchange for federal funds, Defendants willingly subject their foster care system to

federal oversight.46 See Dwayne B., 2007 U.S. Dist. LEXIS 28265, at *20 n.5 (“there are

no ‘comity’ or ‘federalism’ concerns presented by this lawsuit because the State . . . has


45
   To support their claim, Defendants rely on out of context quotes from Santosky v.
Kramer, 455 U.S. 745, 766 (1982) and Moore, 442 U.S. at 435 without consideration for
the underlying facts in each case. In Santosky, the Court considered the proper evidentiary
standard to be used in parental rights termination proceedings. Id. As discussed above, any
reliance on Moore is also misplaced, as that case was pre-Sprint and did not apply the
Middlesex factors at all.
46
   See also McCartney v. Cansler, 608 F. Supp. 2d 694, 703-04 (E.D.N.C. 2009) (holding
Younger abstention not warranted in case alleging federal Medicaid violations because of
strong federal interest in and regulation of program).
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voluntarily agreed to federal oversight of its foster care system in exchange for federal

funding”).47

       Additionally, the Ninth Circuit has cautioned that the “important state interest”

requirement is “not an invitation to abstain simply because a suit implicates a state law,

even one involving a traditional state concern.”48 Logan v. U.S. Bank Nat’l Ass’n., 722 F.3d

1163, 1167 (9th Cir. 2013). The court strictly limited the application of Younger to

proceedings “where the operation of the state judicial system is itself at issue.” Id. at 1167-

68; see also Potrero Hills Landfill, Inc. v. County of Solano, 657 F.3d 876, 886 (9th Cir.

2011) (finding that to establish a vital interest in the state’s judicial functions for Younger

purposes, the claim must go to “the core of the administration of a State’s judicial system.”)

(quoting Juidice, 430 U.S. at 335). In Potrero, the Ninth Circuit ruled that the federal suit

would not “unduly interfere with the state’s vital interest in ‘protecting “the authority of

[the state’s] judicial system . . . .” where the case did not challenge the authority of state

courts to issue writs or “processes for their enforcement once issued.” Potrero, 657 F.3d at

887 (quoting Pennzoil Co., 481 U.S. at 14 n.12 and Juidice, 430 U.S. at 336 n.12).



47
   In fact, the very annual review with which Defendants’ claim Plaintiffs’ requested
injunctive relief interferes (see D. Br. at 25-26) is mandated by the federal Title IV-E
program. 42 U.S.C. § 675(5)(C); CINA Rule 19(a) (“The court shall conduct an annual
review for a child under the supervision of the Department pursuant to AS 47.10.080(c)(2)
to determine if continued supervision, as it is being provided, is in the best interest of the
child.”)
48
    Likewise, in ReadyLink, the Ninth Circuit found it to be irrelevant to its Younger analysis
that the state proceeding involved the interpretation of a state insurance regulation, an area
of traditional state concern, since “[i]n nearly every civil case, litigants request that a court
or a quasi-judicial agency interpret a statute, a regulation, or the common law.” 754 F.3d
at 760.
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       Plaintiffs do not raise any challenge to the state court’s authority to issue or enforce

writs nor do they raise issues that go to the “core” of the administration of the state juvenile

court. Potrero, 657 F.3d at 887. Thus, under controlling Ninth Circuit law, Defendants

cannot show that Plaintiffs’ suit meets the third Middlesex factor.

              3.      O’Shea Abstention Is Inappropriate

       O’Shea v. Littleton, 414 U.S. 488, 500 (1974) is an outgrowth of Younger. Under

O’Shea, a federal court may not issue an injunction which would result in an “ongoing

federal audit” of state court proceedings that would “indirectly accomplish the kind of

interference that Younger v. Harris . . . and related cases sought to prevent.” O’Shea, 414

U.S. at 500. Defendants claim that O’Shea abstention should be applied. D. Br. at 33. But

the interference with state court proceedings must be explicit and here, unlike O’Shea,

Plaintiffs are not asking for any relief that would directly or indirectly interrupt or alter any

state court proceedings.49

       Defendants ignore well-settled law in the Ninth Circuit and elsewhere finding that

O’Shea is inapplicable where plaintiffs—as they do here—challenge systemic issues in the

child welfare system, not individual determinations in specific cases. For example, the


49
   In O’Shea, plaintiffs brought a lawsuit seeking “an injunction aimed at controlling or
preventing the occurrence of [bond determinations] that might take place in the course of
future state criminal trials.” Id. at 500. The Supreme Court held that an injunction aimed at
controlling individual bond determinations would “disrupt the normal course of
proceedings in the state courts via resort to the federal suit for determination of the claim
ab initio, just as would the request for injunctive relief from an ongoing state prosecution
against the federal plaintiff which was found to be unwarranted in Younger.” Id. at 500-01.
And enforcing the injunction would require “continuous supervision by the federal court
over the conduct of the petitioners in the course of future criminal trial proceedings.” Id. at
501.
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Tinsley Court found O’Shea abstention inappropriate because, “although the juvenile

courts play a significant role in overseeing the care of children within the custody and care

of the Arizona child welfare agencies, the courts are not involved in adjudicating and

remedying the types of claims raised here.”50 Tinsley, 156 F. Supp. 3d at 1043. Moreover,

“the complaint and proposed relief. . . are not directly aimed at the functioning of the

juvenile courts” and the “failures of child welfare agencies to comply with juvenile court

orders are the result of the broader problems Plaintiffs wish to address.” Id. at 1043-44.

Similarly, in Wyatt B., the court found that O’Shea abstention did not apply where

“Plaintiffs do not allege that their injuries are the result of the procedures or the

administration of the juvenile court system, or that the systemic relief they seek is within

the power of the Oregon juvenile courts to grant.” 2021 U.S. Dist. LEXIS 184389, at *18.

       Further, in distinguishing O’Shea from the type of claim at hand against executive

agency defendants, the Fourth Circuit in Jonathan R. stated that “O’Shea does not resemble

this case in any way that matters. There, plaintiffs complained that various judicial and

prosecutorial officials colluded to curtail their civil rights, and the only two defendants

before the Supreme Court were a magistrate and a county circuit judge.” 41 F.4th at 334.

Moreover, the Fourth Circuit held that unlike O’Shea where the only way to change the

practice at issue was by “controlling or preventing the occurrence of specific events that




50
  Plaintiff foster children requested relief that was aimed at the agency’s “processes for
acquiring, screening, and licensing foster homes and its provision of enough foster homes
to house children entrusted to its care,” not “at controlling the ultimate placement of
individual children in a foster home.” Tinsley, 156 F. Supp. 3d at 1038.
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might take place in the course of future state criminal trials,” the district court could “offer

meaningful relief solely by monitoring executive action.” Id. (internal citations omitted). 51

       Defendants cite to several cases in which various courts applied O’Shea abstention.

D. Br. at 33 n.124. These O’Shea cases share several common characteristics: defendants

include state court systems and state court officials; relief is aimed at specific events that

take place in state court proceedings; and granting relief would “require both an

‘interruption of state proceedings’ and ‘an ongoing federal audit of’ them.” Id. Plaintiffs in

O’Shea, E.T. v. Cantil-Sakauye, 682 F.3d 1121 (9th Cir. 2012), Disability Rights N.Y. v.

New York, 916 F.3d 129 (2nd Cir. 2019), and Oglala, 904 F.3d 603 filed suit against state

court systems and/or court officials. In each of these cases, plaintiffs sought to control or

enjoin specific events that take place in state court proceedings—bond determinations

(O’Shea), adequacy of representation (E.T.),52 guardianship adjudications (Disability




51
   See also T.F. v. Hennepin County, No. 17-1826, 2018 U.S. Dist. LEXIS 25841, at *12
(D. Minn. Feb. 16, 2018) (finding O’Shea abstention inapplicable because foster children
plaintiffs “[did] not claim ‘any statutory or constitutional violations in the procedure or
administration of’ [Minnesota’s juvenile] courts.”) (citing Tinsley, 156 F. Supp. 3d at
1044).
52
   In E.T., plaintiffs brought a § 1983 suit against state court officials and judges alleging
that the “crushing and unlawful” caseloads of court-appointed attorneys prevented
attorneys from providing effective assistance of counsel. E.T., 682 F.3d at 1122.
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Rights NY),53 and emergency removal hearings (Oglala).54 The present case shares none of

these characteristics.55

       Defendants elaborate on the superior courts’ role in child welfare proceedings, D.

Br. at 13-18, invoke O’Shea, id. at 38-39, and then hope this court will use its imagination

to arrive at the conclusion that the relief stated in the complaint will require an ongoing

federal audit of Alaska’s superior courts. However, the relief that Defendants point to—

i.e. that placements be “appropriate” and “in the least restrictive environment,” that OCS

“file and proceed with a timely petition to free a child for adoption in certain

circumstances,” and that placements be “ICWA-compliant” (D. Br. at 34)—are all actions

in the control of OCS, not the courts.56 As discussed supra at Section III(A)(2)(a), while


53
   In Disability Rights N.Y., plaintiffs brought a § 1983 suit against state court officials and
judges alleging that the statute governing guardianship adjudications was unconstitutional.
The complaint sought “to alter the manner in which guardianship proceedings are
conducted.” 916 F.3d at 130-31.
54
    In Oglala, parents filed suit against the executive agency and the presiding judge,
alleging that the emergency removal hearing process violated their rights. Oglala, 904 F.3d
at 608. The court abstained because the relief requested “interfere[d] with the state judicial
proceedings by requiring the defendants to comply with numerous procedural requirements
at future 48-hour hearings.” Id. at 612.
55
   See Tinsley, 156 F. Supp. 3d at 1043-44 (distinguishing E.T. because plaintiffs’ suit was
not “directly aimed at the functioning of the juvenile courts”); Wyatt B., 2021 U.S. Dist.
LEXIS 184389, at *14 (distinguishing E.T. because plaintiffs’ relief did not “entail
examination of the administration of individual cases”).
56
   For example, OCS can, based on its own determination of the best interests of the child,
place the child in a home or institution inside or outside of the state, AS 47.10.080(s); AS
47.10.100(a); approve an unlicensed relative for placement, AS 47.14.115(b); separate
siblings and prohibit contact between siblings AS 47.10.100(r); transfer a child from one
out-of-home placement to another, AS 47.10.080(s); deny visitation to family members,
AS 47.10.080(p); require foster parents to facilitate visitation by the child’s parents, AS
47.10.080(t); override a school district’s enrollment decisions, AS 47.10.080(y); and
override a child’s placement preferences. AS 47.10.086(h). OCS is responsible for
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the court can review placement decisions, it cannot substitute judgment.57 That CINA

courts hold hearings to review some of Defendants’ decisions is in no way different from

other states that have found O’Shea abstention to be inappropriate.

       Defendants fail to answer the threshold question for O’Shea: whether the

interference would be so substantial as to require the “constant day-to-day supervision” of

judicial officers. O’Shea 414 U.S. at 500-01. O’Shea abstention is thus inappropriate.

              4.      Rooker-Feldman Does Not Apply To This Case

       The Rooker-Feldman doctrine is “confined to . . . cases brought by state-court losers

complaining of injuries caused by state-court judgments . . .” Exxon Mobil Corp. v. Saudi

Basic Indus. Corp., 544 U.S. 280, 284 (2005) (emphasis added). The Ninth Circuit has

clarified that “where the federal plaintiff does not complain of a legal injury caused by a

state court judgment, but rather of a legal injury caused by an adverse party, Rooker-

Feldman does not bar jurisdiction . . . [even if the parties] are litigating the same or similar




licensing, training, and investigation of foster care homes, AS 47.14.100(j), 47.14.115; for
hiring, training, and supervising caseworkers, AS 47.14.112; for contracting with and
supervising medical professionals and detention facilities, AS 47.14.010, 47.20.070,
47.32.010; and for providing vocational training and independent living skills to foster
children who are likely to age out of the system. AS 47.18.310; AS 47.18.320.
57
   Compare with Wyatt B., 2021 U.S. Dist. LEXIS 184389, at *10, 16 (finding abstention
not warranted and citing to Oregon law stating that “unless otherwise authorized by law,
the court may not direct a specific placement. The actual planning and placement of the
child or ward is the responsibility of the department” Also stating that “[t]he state agency
retains substantial control over the specifics of placement for children placed in their
custody by the juvenile court and retains control over the licensing, training, and
investigation of foster care homes.”). See also supra at III(A)(2)(b) (explaining the
similarity between Oregon, Arizona, and Alaska courts).
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dispute in state court.”58 Noel v. Hall, 341 F.3d 1148, 1163 (9th Cir. 2003). The Supreme

Court has clarified that “Rooker-Feldman does not apply to a suit seeking review of state

agency action.” Exxon Mobil, 544 U.S. at 287 (internal citations omitted).59

       Rooker-Feldman does not apply in this case because: (1) the Complaint challenges

only executive action, not judicial decisions; and (2) Plaintiffs lacked a reasonable

opportunity to raise their federal claims in the state proceedings.60

       Defendants argue that this lawsuit amounts to a collateral attack on Plaintiffs’

underlying CINA court proceedings, in part because “superior courts have already upheld

placement decisions with respect to the Named Plaintiffs.” D. Br. at 36. But Plaintiffs do

not challenge or seek to alter any underlying CINA court decisions.61 Here, Plaintiffs

challenge state agency action, as in Exxon. The mere existence of parallel proceedings does

not render the issues “inextricably intertwined” sufficient to warrant dismissal.62


58
   It is wholly inapplicable to independent claims raised in federal court, even if those
claims “den[y] a legal conclusion that a state court has reached in a case to which [the
plaintiff] was a party.” Iqbal v. Patel, 780 F.3d 728, 730 (7th Cir. 2015) (quoting Exxon
Mobil, 544 U.S. at 293).
59
   See also Verizon Md., Inc. v. Pub. Serv. Comm’n, 535 U.S. 635, 650 n.3 (2002); S. Cal.
Edison Co. v. Lynch, 307 F.3d 794, 800 (9th Cir. 2002).
60
   See Feldman v. McKay, No. 15-cv-04892, 2015 U.S. Dist. LEXIS 159741, at *38 (C.D.
Cal. Nov. 25, 2015) (“For an issue to be inextricably intertwined with a state court decision,
there must have been a reasonable opportunity to raise the issue in the state proceedings.”);
Marshall v. Wash. State Bar Ass’n, No. 11-cv-5319, 2012 U.S. Dist. LEXIS 71932, at *27
(W.D. Wash. May 23, 2012) (“The pertinent inquiry is whether Marshall had a reasonable
opportunity to raise objections in the state court proceedings.”).
61
   Defendants also inappropriately rely on CINA courts’ finding of facts. See Plaintiffs’
Opposition to Defendants’ Motion for Judicial Notice filed on September 30, 2022.
62
   Defendants omit the threshold requirement stated in Bianchi v. Rylaarsdam, 334 F.3d
895, 898 (9th Cir. 2003) (applying Rooker-Feldman only “[i]f claims raised in the federal
court action are ‘inextricably intertwined’ with the state court’s decision such that the
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Additionally, as discussed in Section III(A)(2) infra CINA proceedings are wholly

inadequate venues for Plaintiffs’ claims.

       Defendants cite to no case that applied the Rooker-Feldman doctrine for the sole

reason that plaintiffs could have brought the claims in the underlying state court case.63

That is because, as stated above, the Rooker-Feldman doctrine is limited to “cases brought

by state-court losers complaining of injuries caused by state-court judgments.” Exxon

Mobil, 544 U.S. at 284. That is not the case here.64




adjudication of the federal claims would undercut the state ruling or require the district
court to interpret the application of state laws or procedural rules”) (emphasis added); see
also Noel, 341 F.3d at 1165 (“We have never held that when there are simultaneous suits
in state and federal court, in which related or ‘inextricably intertwined’ claims are being
litigated, the federal suit must be dismissed.”).
63
   In Miller v. Nichols, for example, the court applied Rooker-Feldman because plaintiffs’
effort to prevent adoption of their child amounted to “an end run around the state court’s
judgment” terminating parental rights. 586 F.3d 53, 59 (1st Cir. 2009). In Phillips v. City
of New York, the court found that “Plaintiffs lost in state court . . . and that judgment was
rendered prior to commencement of this federal lawsuit” and that “the relevant injury did
arise out of the state court judgment.” 453 F. Supp. 2d 690, 713, 717 (S.D.N.Y. 2006).
Defendants misstate Guess v. Bd. of Med. Exam’rs of State of N.C., which stated that
“Feldman will preclude jurisdiction if the constitutional claims are inextricably intertwined
with the merits of the state court judgment,” even if Plaintiffs never brought the same
federal claim in state court. 967 F.2d 998, 1002-03 (4th Cir. 1992) (emphasis added).
64
    Defendants conclude with an abstention catch-all: that as an alternative to Younger,
O’Shea, or Rooker-Feldman, the court may abstain when hearing a case “risks a serious
federalism infringement” to “an area of traditional state authority.” D. Br. at 35. To support
this proposition, Defendants cite J.B. v. Woodward, 997 F.3d 714, 723 (7th Cir. 2021),
which concerned a facial challenge to a state statute that, if granted, would have interfered
with family court proceedings “to such a degree as to all but compel the federal judiciary
to stand down.”
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       B.     Plaintiffs Have Adequately Alleged Standing to Bring Their Claims

       “The doctrine of standing addresses whether [the] party invoking federal court

jurisdiction has ‘[t]he requisite personal interest’ in the outcome of the case ‘at the

commencement of the litigation.’” Wyatt B., 2022 U.S. Dist. LEXIS 147091, *66 (quoting

Blair v. Shanahan, 38 F.3d 1514, 1519 (9th Cir. 1994)). Plaintiffs must prove three things

to establish standing: (1) that they have suffered an “injury in fact”; (2) that there was a

“causal connection between the injury and the conduct complained of”; and (3) that it is

“likely” that the injury will be “redressed by a favorable decision.” Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560-561 (1992). The Court may only dismiss Plaintiffs’ claims for

lack of standing if Plaintiffs have failed to make “general factual allegations of injury

resulting from the defendant’s conduct.” Clark K. v. Guinn, No. 06-cv-1068, 2007 U.S.

Dist. LEXIS 35232, at *10 (D. Nev. May 9, 2007) (quoting Lujan, 504 U.S. at 561).

              1.     Plaintiffs Have Adequately Alleged an Injury-In-Fact

       “[T]o satisfy the ‘injury-in-fact’ requirement, a plaintiff need not wait for an injury

to occur.” Clark K., 2007 U.S. Dist. LEXIS 35232 at *10 (cited D. Br. at 54 n.208). “An

allegation of future injury satisfies this prong so long as the alleged injury is “imminent”

or “real and immediate” and not merely “conjectural” or “hypothetical.” Id. (quoting City

of Los Angeles v. Lyons, 461 U.S. 95, 101-102 (1983)). At the pleading stage, “[g]eneral

factual allegations of injury resulting from the defendant’s conduct may suffice.” Jewel v.

NSA, 673 F.3d 902, 907 (9th Cir. 2011).

       Plaintiffs have alleged continuing, concrete, and particularized injuries while in

OCS’s care and custody. See Clark K., 2007 U.S. Dist. LEXIS 35232, at *13 (“Plaintiffs

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assert detailed allegations of tangible injuries. Plaintiffs also allege these harms will

continue into the present and are very likely to persist into the future unless Defendants are

forced to remedy the significant problems in [the] child welfare system.”). Plaintiffs all

remain in OCS custody, and therefore, face ongoing harm and remain at a significant risk

of experiencing future harm from Defendants’ policies and practices. Numerous other

courts have found these claims sufficient. See, e.g., B.K. v. Snyder, 922 F.3d 957, 967, 972

(9th Cir. 2019) (plaintiff in foster care “face[d] a risk of harm from [child welfare agency’s]

policies and practices” and thus had “standing to press her due process claims”).65

       Defendants contend that Plaintiffs do not satisfy the injury requirement because they

allege only past injuries, not a likelihood of repeated injury or future harm. D. Br. at 39.

Defendants pluck past injuries from Plaintiffs’ allegations and strategically omit the

obviously prospective harm. But the Complaint alleges that Jeremiah M., Hannah M., and

Hunter M., have ongoing needs for which OCS is not properly providing services and

continue to languish in a poor placement. (See ¶¶41-57). The same is true for Rachel T.

and Eleanor T. (See ¶¶101-11). These allegations greatly resemble those in other cases

where courts have found standing. See, e.g., B.K., 922 F.3d at 967 (plaintiff “presented

evidence that she has not received adequate medical care or appropriate placements in the

past as well as evidence that statewide policies and practices expose her to a risk of similar

future harms.”). Notably, Defendants do not contest Plaintiffs’ allegations of ongoing



65
   See also M.D. v. Abbott, 907 F.3d 237, 264 (5th Cir. 2018) (affirming the District Court’s
finding that “a policy or practice of maintaining overburdened caseworkers directly causes
all [] children to be exposed to a serious risk of physical and psychological harm”).
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harm—for example, that Lana H. remains in a homeless shelter where she is not getting

services. ¶21. To the extent Plaintiffs cite past harms, it is to prove likelihood of future

harm. See Sierakowski v. Ryan, 223 F.3d 440, 445 (7th Cir. 2000) (“[T]o confer standing

for injunctive relief, [past harms] may be evidence that future violations are likely to

occur.”).66

       Plaintiffs complain of systemic, widespread policies and practices that either

directly harm or pose a significant risk of harm to these plaintiffs. For example, OCS’s

“lack of assistance” prevents Plaintiffs from receiving the services they need. See ¶50; D.

Br. at 41. And Plaintiffs continue to suffer harm from “significant caseworker turnover.”

See ¶110. What is more, OCS’s failure to “return phone calls” or “provide medical consent

forms,” while in the past, amount to “evidence that future violations are likely to occur.”

Sierakowski, 223 F.3d at 445. As the facts make clear, “[t]his case is different than Lyons.

Plaintiffs . . . who are in foster care have standing to pursue their claims [because] [t]hey

are in Defendants’ custody and . . . cannot avoid exposure to Defendants’ challenged

conduct.”67 Clark K., 2007 U.S. Dist. LEXIS 35232, at *12.




66
   See also Powell v. Illinois, No. 18-cv-6675, 2019 U.S. Dist. LEXIS 168209, at *19 (N.D.
Ill. Sept. 30, 2019) (highlighting that the “trauma each child suffered in the past frames this
ongoing injury”); C.f. Shain v. Ellison, 356 F.3d 211, 215 (2d Cir. 2004) (plaintiff lacked
standing because he made no allegations of future injury) (D. Br. at 40 n.161); Stack v. City
of Hartford, 170 F. Supp. 2d 288, 293-294 (D. Conn. 2001) (same) (D. Br. at 39 n.154).
67
   Indeed, Plaintiffs allegations that they are still in OCS custody and continue to be at risk
of harm are a far cry from those in Lyons, 461 U.S. 95 (D. Br. at 40) where plaintiff who
was placed in a police chokehold would need to show that he would have another encounter
with the police, and that (1) all police choke all citizens they encounter, or (2) the city
authorized police officers to act in this way. Id. at 105-06.
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              2.      Plaintiffs Have Adequately Alleged Causation

       “[F]or purposes of standing at the pleading stage,” causation exists where plaintiffs

pleaded that “Defendants’ failures caused Plaintiffs’ injuries and their continued failures

are likely to cause further injuries.” Clark K., 2007 U.S. Dist. LEXIS 35232, at *14.

       Defendants claim that Plaintiffs need to add “specific allegations linking OCS’s

alleged historical problems to the circumstances of the Named Plaintiffs themselves.” 68 D.

Br. at 43. However, if state officials “fail to provide [plaintiff with reasonable care] . . .

through the deficient statewide policies and practices [plaintiff] alleges, the harm to

[plaintiff] will have been caused by those officials.” B.K., 922 F.3d at 967. Plaintiffs need

not allege that each policy and practice affected each individual plaintiff. Id. Plaintiffs need

only, as they do here, allege a failure to provide reasonable care. See, e.g., ¶¶140, 168, 173,

181, 192, 268, 276, 291, 297, 308, 315. Defendants did not cite a single case that supports

their theory of causation. Nor can they.

       Defendants attempt to support their theory with Karen L., 953 P.2d at 877. But

Defendants’ caveat that Karen L. “arose in a different context” is an understatement. D.

Br. at 42. There, the court, reviewing a grant of summary judgement in a negligent

infliction of emotional distress case, held that the mother’s participation in CINA

proceedings was not a proximate cause of her injuries, and that the agency did not owe her

a duty of care. This case is wholly inapplicable.



68
  Defendants’ citation to Wash. Envtl. Council v. Bellon is inapposite. 732 F.3d 1131, 1142
(9th Cir. 2013) (no “plausible scientific or other evidentiary basis that [Defendants’
actions] are the source of their injuries.”).
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       Defendants also quickly gloss over the specific allegations linking Plaintiffs’

injuries to OCS and then raise Gayle T.’s sexual assault while in Hanson House as an

example of OCS’s lack of responsibility for Plaintiffs’ harms. D Br. at 43-44 (“[T]here is

no allegation that Hanson House is run or controlled by OCS”). But the agency cannot

contract away its constitutional duty of care to foster children who remain in the state’s

custody. See K.H. v. Morgan, 914 F.2d 846, 849 (7th Cir. 1990). Plaintiffs have thus

sufficiently alleged causation to overcome a motion to dismiss.

              3.     Plaintiffs Have Adequately Alleged Redressability

       “To establish Article III redressability, the plaintiffs must show that the relief they

seek is both (1) substantially likely to redress their injuries; and (2) within the district

court’s power to award.” Juliana v. U.S., 947 F.3d 1159, 1170 (9th Cir. 2020) (internal

citations omitted). Plaintiffs are not, however, “required to allege the precise means of

redress at the pleading stage.” Crawford v. Uber Techs., Inc., No. 17-cv-02664, 2018 U.S.

Dist. LEXIS 33778, at *10 (N.D. Cal. Mar. 1, 2018).69



69
   Defendants argue that the redressability analysis in Ashley W. is relevant here. See 34
F.4th 588, 593 (7th Cir. 2022). But that court’s analysis of redressability—as Defendants
concede—"turns on Younger.” D. Br. at 44. If this court declines to abstain, then Ashley
W. serves no purpose in a redressability analysis. Moreover, the conclusion in Ashley W.
relied on the faulty assumption that plaintiffs’ injuries were non-redressable “short of
ordering the state to come up with more money.” 34 F.4th at 593. But as a threshold matter,
Plaintiffs do not seek any type of relief that would directly require Defendants to increase
funding. Plaintiffs ask that the Court require Defendants to comply with their constitutional
and statutory obligations, by for example, increasing personnel or access to services, with
any monetary impact being entirely ancillary. See Papasan v. Allain, 478 U.S. 265, 278
(1986) (“[R]elief that serves directly to bring an end to a present violation of federal law is
not barred by the Eleventh Amendment even though accompanied by a substantial ancillary
effect on the state treasury.”); see Ariz. Students’ Ass’n v. Ariz. Bd. of Regents, 824 F.3d
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       Defendants claim that Plaintiffs could bring many of their requests for injunctive

relief before a CINA court. But, as discussed above, Plaintiffs cannot. See Section

III(A)(2)(b).

       Defendants then claim that the remaining relief that Plaintiffs seek are either

“aspirational” or “speculative.” D. Br. at 46-47. But courts should not assess at the pleading

stage whether relief sought in a complaint will ultimately succeed. Dwayne B., 2007 U.S.

Dist. LEXIS 28265, at *16 (“Plaintiffs’ complaint need only seek injunctive relief that is

‘likely’ to remedy Defendants’ conduct that they allege causes their harms; not injunctive

relief that ‘assures’ these injuries will be redressed.”). Here, “[t]he relief Plaintiffs seek

would clearly remedy their claimed injuries . . . [and] federal courts have generally afforded

foster children standing in situations like this case.” Clark K., 2007 U.S. Dist. LEXIS

35232, at *14-15.70

       C.       Defendants’ Arguments About the Appropriateness of Injunctive Relief
                Are Premature

       Without requesting dismissal of any specific claims, Defendants argue that several

of the requests for injunctive relief fail as a matter of law because they: (1) apply to third-

parties not before the court; and (2) fail to comport with the specificity requirements of

Federal Rule of Civil Procedure 65.71 D. Br. at 47-50. This argument is without merit and



858, 865 (9th Cir. 2016) (“The Young doctrine allows individuals to pursue claims against
a state for prospective equitable relief, including any measures ancillary to that relief.”).
70
   See also B.K., 922 F.3d at 967 (“If those allegedly deficient policies and practices are
abated by an injunction, that harm may be redressed by a favorable court decision.”).
71
   Defendants specifically argue that the requests for relief found at sections IV(a), (b), (p)
and (q) of the Complaint’s Prayer for Relief section are improper. See ¶¶91–93.
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ignores the actual language of the Complaint and the numerous federal district court

decisions setting out the limitations to motions brought under Rule 12.72

       As a basic matter, the relevant pleading standard is found in Rule 8, which simply

requires that every complaint contain a “demand for relief, which may include relief in the

alternative or different types of relief.” Fed. R. Civ. P. 8(a)(3). Because the Plaintiffs’

prayers for relief consist of just that—demands for various sorts of equitable relief—they

satisfy the pleading requirements of the Federal Rules of Civil Procedure.73

       Defendants do not point to a case or rule that would allow the court to dismiss

otherwise well-pleaded claims at the Rule 12 stage on the sole grounds that certain prayers

for relief may be improper. Indeed, most federal courts have concluded that claims should

not be dismissed under Rule 12(b) “merely because a plaintiff requests a remedy to which

he or she is not entitled.”74 As the district court reasoned in Celebrity Chefs Tour, LLC,



72
   Defendants’ cited cases are inapposite for this reason. For example, M.D., 907 F.3d at
268 (D. Br. at 50 n.196, n.197) was decided following class certification and a two-week
bench trial.
73
   Defendants argue that certain requests for injunctive relief are invalid because they “refer
to standards set by third parties” D. Br. at 49. But courts have found similar requests for
injunctive relief valid under Rule 65. See DG v. Devaughn, 594 F.3d 1188, 1200 (10th Cir.
2010) (in connection with motion for class certification, finding requests for “(1) an
injunction setting limits on the caseloads of caseworkers and their supervisors set by the
[Council on Accreditation] COA and the [Child Welfare League of America] CWLA and
(2) and injunction mandating caseworkers monitor foster children by visiting them as
frequently as set forth under COA and CWLA standards” to be valid).
74
   Celebrity Chefs Tour, LLC v. Macy’s, Inc., 16 F. Supp. 3d 1159, 1164 (S.D. Cal. 2014)
(internal quotation marks omitted) (quoting Summit Tech., Inc. v. High–Line Med.
Instruments, Co., 933 F. Supp. 918, 927–28 (C.D.Cal.1996)); see also Pruitt v. Cheney,
963 F.2d 1160, 1164 (9th Cir. 1991), amended (May 8, 1992) (quoting Conley v. Gibson,
355 U.S. 41, 45–46 (1957)) (“[A] complaint should not be dismissed for failure to state a
claim unless it appears beyond doubt that the plaintiff can prove no set of facts in support
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arguments about the propriety of relief requested generally do not serve as a basis for

dismissal of claims in their entirety.75 16 F. Supp. 3d at 164.

       Instead, most federal courts have concluded that arguments regarding the propriety

of injunctions or other equitable relief are premature at the pre-answer, motion to dismiss

stage. Rejecting an analogous argument, the District Court in Fowler v. Aetna Life Ins. Co.

concluded that “[w]ithout a more fully-developed record, no one in this action is yet in a

position to determine what, if any, equitable relief” may be available to the plaintiffs.76

Defendants’ request for dismissal of Plaintiffs’ claims on the grounds that some of their

requests for injunctive relief may be improper should be rejected by the Court.




of his claim which would entitle him to relief.”); Charles v. Front Royal Volunteer Fire &
Rescue Dep’t, Inc., 21 F. Supp. 3d 620, 629–30 (W.D. Va. 2014) (“[T]he nature of the
relief included in the demand for judgment is immaterial to the question of whether a
complaint adequately states a claim upon which relief can be granted.”). The one contrary
decision can be found in the Second Circuit’s decision in Bano v. Union Carbide Corp.,
361 F.3d 696, 716-16 (2d Cir. 2004) affirming the dismissal of a claim for injunctive relief
that would have necessarily required the cooperation of a non-party foreign government.
The Bano court urged the district court to reconsider dismissal in the event the foreign
government moved to intervene in the case. Id. This is not an issue here where the relief
sought is in Defendants’ hands.
75
   Id. (rejecting defendants’ argument that plaintiffs’ claims should be dismissed on a Rule
12(b)(6) motion where complaint alleged improper relief punitive damages that defendants
argued were unavailable to plaintiffs).
76
   Fowler v. Aetna Life Ins. Co., No. 08-cv-03463 WHA, 2008 U.S. Dist. LEXIS 95174, at
*12-13 (N.D. Cal. Nov. 13, 2008); see also Carten v. Hartford Life & Accident Ins. Co.,
No. 10-cv-04019, 2010 U.S. Dist. LEXIS 115468, at *10 (N.D. Cal. Oct. 21, 2010) (“[I]t
is also premature to address whether the various flavors of injunctive relief requested in
the complaint are ‘appropriate.’ When, if ever, plaintiff establishes her entitlement to relief,
these questions will be ripe for adjudication.”).
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       D.     Plaintiffs Have Adequately Stated Claims on Which Relief May be
              Granted

       To survive a motion to dismiss under Rule 12(b)(6), a complaint must allege

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). The court must “accept factual allegations in the

complaint as true and construe the pleadings in the light most favorable to the nonmoving

party.” Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008).

“The issue is not whether a plaintiff will ultimately prevail but whether the claimant is

entitled to offer evidence to support the claims.” Jackson v. Carey, 353 F.3d 750, 755 (9th

Cir. 2003) (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)). Finally, “all pleadings

shall be so construed as to do substantial justice.” Kimes v. Stone, 84 F.3d 1121, 1129 (9th

Cir. 1996) (citing Fed. R. Civ. P. 8(f)).

              1.      Plaintiffs Have Adequately Alleged Substantive Due Process Claims

       The Due Process Clause of the Fourteenth Amendment prohibits the state from

depriving “any person of life, liberty, or property, without due process of law.” U.S. Const.

amend. XIV. When the state assumes custody of a child—deprives them of liberty—it

creates a “special relationship” that triggers Fourteenth Amendment due process

protections.77 A foster child has a “protected liberty interest” in “reasonable safety and

minimally adequate care and treatment appropriate to the age and circumstances of the

child.” Lipscomb v. Simmons, 962 F.2d 1374, 1379 (9th Cir. 1992) (citations omitted);



77
 See Henry A. v. Willden, 678 F.3d 991, 1000 (9th Cir. 2012); Tamas v. Dep’t of Soc. &
Health Servs., 630 F.3d 833, 846-47 (9th Cir. 2010).
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Wyatt B., 2021 U.S. Dist. LEXIS 184389, at *20. A state agency violates these rights when

it acts deliberately indifferent to unreasonable risks of harm. Henry A., 678 F.3d at 1000-

01.

       The scope of these protections is broad, as held in the Ninth Circuit and elsewhere.

A foster child’s right to be free from unreasonable risk of harm encompasses the right to

“social worker supervision and protection from harm inflicted by a foster parent.” Henry

A., 678 F.3d at 1000; to “protection from psychological as well as physical abuse,” M.D.

v. Abbott, 152 F. Supp. 3d 684, 696 (S.D. Tex. 2015); and to “personal security and

reasonably safe living conditions,” Hernandez v. Tex. Dep’t of Protective & Regulatory

Servs., 380 F.3d 872, 880 (5th Cir. 2004).78 These protections are not merely against actual

injury—the Fourteenth Amendment protects foster children against unreasonable risks of

harm.79 Relying on foster families and private institutions to provide that care does not




78
   See also Marisol A., 929 F. Supp. at 675 (“tak[ing] a broad view of the concept of harm
in the context of plaintiffs’ substantive due process claims”, finding “custodial plaintiffs
have a substantive due process right to be free from unreasonable and unnecessary
intrusions into their emotional well-being”); Olivia Y., 351 F. Supp. 2d at 556 (finding that
“plaintiffs’ pleading is sufficient to allege a violation of their substantive due process right
to adequate care and treatment while in state custody”); Connor B., 771 F. Supp. 2d at 161
(cited D. Br. 51 n.198) (finding substantive due process claims adequately alleged,
including “the right to remain in custody no longer than necessary under the circumstances,
the right to receive care and treatment in accordance with accepted standards of
professional judgment, and the right to be placed in the least restrictive environment”).
79
   See, e.g., Parsons v. Ryan, 754 F.3d 657, 676 (9th Cir. 2014) (prisoners’ claim for
injunctive relief based on risk of future harm due to unsafe conditions was “firmly
established in our constitutional law”); Hoptowit v. Spellman, 753 F.2d 779, 784 (9th Cir.
1984) (finding that plaintiffs “need not wait until actual casualties occur in order to obtain
relief from [unsafe] conditions”).
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relieve the state of its constitutional duty to foster children who remain in the state’s

custody. K.H. v. Morgan, 914 F.2d at 851-52.

       Defendants call this precedent a “litany of rights,” and contend, incorrectly, that

Alaska foster children are constitutionally entitled to no more than “basic human needs,”

and that the state need only provide “minimally adequate care and treatment,” converting

the floor of constitutional protection into its ceiling.80 See D. Br. at 51-52. Indeed, the only

two cases Defendants cite to support this proposition are DeShaney v. Winnebago Cnty.

Dep’t of Soc. Servs., 489 U.S. 189, 200 (1989), and Youngberg v. Romeo, 457 U.S. 307,

319 (1982) (D. Br. at 52 n.203, 54 n.209), conveniently glossing over two decades of

decisions that expand and expound upon the due process rights of foster children.

       First, Plaintiffs adequately allege that Defendants have violated their “right to

conditions and duration of foster care reasonably related to the purpose and assumption of

government custody.” ¶269(d). Defendants misstate this claim by characterizing it as a

request for certain types of homes or specific lengths of time in care and in so doing cite

several inapposite and outdated cases.81 See D. Br. at 52-54. For example, the plaintiffs in


80
   Defendants concede that Plaintiffs assert rights recognized under the Fourteenth
Amendment. See D. Br. at 54-55 (citing ¶¶269(a); 269(c) (“the right to freedom from the
foreseeable risk of maltreatment”; the right to services “necessary to prevent unreasonable
risk of harm”). Additionally, Plaintiffs adequately allege that Defendants have violated
their “right to protection from unnecessary intrusions into the child’s emotional wellbeing
once the State has established a special relationship with that child.” ¶269(b). Defendants
do not appear to contest that this is a recognizable right. Rightly so, as the state must “shield
the children in their custody from physical and psychological harm.” Wyatt B., 2021 US.
Dist. LEXIS 184389, *26.
81
   Unlike K.H. v. Morgan, a case about whether child welfare officials were protected by
qualified immunity against a suit for damages, Plaintiffs here seek injunctive relief. 914
F.2d 846, 849 (7th Cir. 1990) (“[T]he outer bounds of judicial competence to remedy deep-
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Reno v. Flores, 507 U.S. 292, 302 (1993) (D. Br. at 53)—an immigration case involving

unaccompanied minors in federal custody—made a categorical request for placement with

non-relatives instead of institutions.82 These cases are similarly unresponsive to “the right

not to be maintained in custody longer than is necessary to accomplish the purpose to be

served by taking a child into government custody,” ¶269(f), and “the right to receive or be

reunited with an appropriate permanent home and family within a reasonable period.”

¶269(g). These rights are adequately alleged.83 They are not, as Defendants contend,

requests for specific placements but requests that Defendants meet their constitutional

duties to foster children. See D. Br. at 52.

       Finally, Plaintiffs have adequately alleged violations of “the right to treatment and

care consistent with the purpose and assumptions of government custody.” ¶269(e); See

Henry A., 678 F.3d at 1000-01 (upholding claims that the state failed to provide services

necessary to ameliorate the conditions of foster children, resulting in harm to those

children); see also Lipscomb, 962 F.2d at 1379 (“Once the state assumes wardship of a



seated problems of public responsibility are to be explored not in damages suits but in
equity actions”).
82
   See also Kovacic v. Cuyahoga Cty. Dep’t of Children & Family Servs., 809 F. Supp. 2d
754, 775-76 (N.D. Ohio 2011) (“The Flores case has no application in the context of
removal of children from their parents or custodial guardians.”) (emphasis in original). In
a mistaken interpretation of Plaintiffs’ claims, Defendants argue that courts have rejected
rights to the type and duration of foster care placement, citing authorities that are
inapposite. D. Br. at 52 n.208.
83
   See, e.g., Connor B., 771 F. Supp. 2d at 161 (upholding substantive due process claims
pursuant to the “right to remain in custody no longer than necessary”); Brian A., 149 F.
Supp. 2d at 953-54 (upholding substantive due process claims, including “the right not to
be deprived of [] liberty unnecessarily by retention in state custody” and the “right to be
placed in the least restrictive, most appropriate, family-like setting while in state custody”).
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child, as part of that person’s protected liberty interest, reasonable safety and minimally

adequate care and treatment appropriate to the age and circumstances of the child”); Olivia

Y., 351 F. Supp. 2d at 556.84 Plaintiffs do not seek an aspirational child welfare system, see

D. Br. at 54, but merely a constitutionally adequate one.

       Plaintiffs have also adequately alleged that Defendants’ policies and practices

amount to deliberate indifference. A foster child’s due process rights are violated when the

state acts with deliberate indifference to unreasonable risks of harm. See Henry A., 678

F.3d at 1000-01.85 To prove deliberate indifference in the Ninth Circuit, a plaintiff must

prove that the agency acted with “reckless disregard” to an objective “substantial risk of []

serious harm.” Castro v. Cty. of L.A., 833 F.3d 1060, 1071 (9th Cir. 2016).86 State agencies

are considered deliberately indifferent to these harms when “statewide policies and

practices expose [foster children] to a risk of similar future harms.” B.K., 922 F.3d at 967.

       The complaint is replete with facts that support a finding of deliberate indifference.

OCS is aware that its poorly trained and maintained workforce can have “long-lasting and

pervasive negative impact on children and families involved in the child welfare system,”

¶165, that frequent placement changes delay data entry and create a “a significant safety

risk to children in care,” ¶171, that delayed permanency “worsens conditions for foster

children and leads to higher and higher caseloads…as well as increased caseworker


84
   Unlike Mark G. v. Sabol, 93 N.Y.2d 710 (1999) (D. Br. at 54 n.211), a state court case
concerning monetary damages for failure to provide preventative services (i.e., prior to
entry into foster care), Plaintiffs here seek appropriate services while in state custody.
85
   See also M.D., 152 F. Supp. 3d at 696-98.
86
   See also Tamas, 630 F.3d at 845.
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turnover, ¶202, that basic services are not being provided to foster children, ¶209-210, and

that minimally adequate medical care is not being provided to foster children with

disabilities, ¶263. OCS maintains practices and policies that perpetuate these well-known

harms, including but not limited to defaulting to reunification, even when parents sexually

abused children, ¶187, failing to implement “a standardized process to track petitions for

termination of parental rights, or to ensure that such petitions are timely filed,” ¶201, and

failing to implement standardized referral processes for services. ¶208.

       This is not mere negligence. It is “akin to reckless disregard,” and easily amounts

to deliberate indifference. Castro, 833 F.3d at 1071. Defendants’ policies and practices are

the proximate cause of Plaintiffs’ deprivation of rights under the Constitution. Doe v.

N.Y.C. Dep’t of Soc. Servs., 649 F.2d 134, 145 (2d Cir. 1981); Taylor v. Ledbetter, 818

F.2d 791, 797 (11th Cir. 1987).

       Defendants cite a deliberate indifference test that has since been overturned.87 D.

Br. at 55. Presently, a plaintiff “who asserts a due process claim for failure to protect [must]

prove more than negligence but less than subjective intent—something akin to reckless

disregard.” Castro, 833 F.3d at 1070. This standard better accords with the understanding

that the deliberate indifference standard should be relaxed with respect to foster children

because “such persons are ‘entitled to more considerate treatment and conditions of


87
   Defendants cite Momox-Caselis v. Donohue, 987 F.3d 835, 845 (9th Cir. 2021) for the
three-part deliberate indifference test. The Momox-Caselis court cites Tamas, which relies
on Clouthier v. Cty. of Contra Costa, 591 F.3d 1232, 1242 (9th Cir. 2010) for the test. But
the Ninth Circuit overruled Clouthier in Castro, 833 F.3d at 1070, and so too the subjective
test. See id. (“We therefore overrule Clouthier to the extent that it identified a single
deliberate indifference standard for all § 1983 claims”).
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confinement than criminals whose conditions of confinement are designed to punish.’” Doe

v. N.Y.C. Dep’t of Soc. Servs., 709 F.2d 782, 790 (2d Cir. 1983) (citing Youngberg, 457

U.S. at 321-22).

       Plaintiffs succeed under both tests. The objectively substantial risk of harm

presented by Plaintiffs is uncontested. Instead, Defendants argue that Plaintiffs have not

proved the subjective component—that OCS was aware of the objectively substantial risk

of harm to foster children, should have been aware of the risks, or ignored the risks. See D.

Br. at 55. The subjective component “may be inferred from the fact that the risk of harm is

obvious.” Tamas, 630 F.3d at 845 (quoting Hernandez, 380 F.3d at 881), and such an

inference is warranted here where OCS was aware of and ignored obvious risks.

       Defendants also quote from a Fifth Circuit decision stating that “[i]ncidental

psychological injury that is the natural, if unfortunate consequence of being a ward of the

state does not give rise to the level of a substantive due process violation.” M.D., 907 F.3d

at 251. The Fifth Circuit, however, ultimately found that it is “illogical to argue that because

a child comes in already ‘damaged’ the State cannot be held liable for inflicting further

harm that compounds that damage—even if it cannot be measured with mathematical

certainty.” Id. at 255. Defendants’ arguments with respect to Plaintiffs’ constitutional

claims fail.

               2.     Plaintiffs Have Adequately Alleged Violations of Their Right to
                      Family Association Under the First, Ninth, and Fourteenth
                      Amendments

       The Supreme Court has held that “certain intimate human relationships must be

secured against undue intrusion by the State” and protected as “a fundamental element of

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personal liberty.” Roberts v. United States Jaycees, 468 U.S. 609, 617-18 (1984). “The

integrity of the family unit has found protection in the Due Process Clause of the Fourteenth

Amendment, the Equal Protection Clause of the Fourteenth Amendment, and the Ninth

Amendment.” Stanley v. Illinois, 405 U.S. 645, 651 (1972) (internal citations omitted).

       Courts have found that “once the state has removed a child from his or her family,

it cannot deliberately and without justification deny that child the services necessary to

facilitate reunification with his or her family, when safe and appropriate, without violating

the child’s right to family integrity.”88 Kenny A., 218 F.R.D. at 297. This is because “once

state officials remove a child from his or her home, they have a constitutional duty to

protect the child from harm,” including the duty to provide “safe and appropriate

placements and services that…do not unnecessarily interfere with the child’s rights of

family association.”89 Kenny A. ex rel. Winn v. Perdue, No. 02-cv-1686, 2004 U.S. Dist.

LEXIS 27025, at *25 (N.D. Ga. Dec. 11, 2004). Here, Plaintiffs allege that as children in

state custody and care, Plaintiffs’ “intimate human relationships” with their parents,

siblings, and other family members are systematically and improperly intruded upon by

Defendants’ policies and practices. For example, Plaintiffs allege that Defendants regularly

place children in inappropriate institutional settings, where “intimate human relationships”




88
   See also, Connor B. v. Patrick, 985 F. Supp. 2d 129, 163 (D. Mass. 2013) (cited D. Br.
at 51 n.198, D. Br. at 55 n.216).
89
   See also Brian A., 149 F. Supp. 2d at 956 (refusing to dismiss foster children’s claim
“that Defendants’ systematic actions and inactions have violated their rights under the First
and Ninth Amendments not to be deprived of family relationships absent compelling
reasons.”).
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are wholly absent. ¶¶123, 259, 261, 263. Defendants shuffle children through foster

placements without regard for their right to “enter into and maintain” such relationships.

¶¶54, 56, 73, 76, 78, 82, 86. Defendants unnecessarily separate siblings when making

placement decisions and do not even arrange for visitation between separated siblings or

parents. ¶¶76-77.

       This is illustrated in the specific claims regarding the Named Plaintiffs. For

example, Plaintiffs have alleged that even though Jeremiah M., Hannah M., and Hunter

M.’s case plan remains reunification, Defendants have failed to make reasonable efforts

towards reunification and have placed the children a far distance from their parents, making

visitation difficult. ¶56. With regard to Mary B., Defendants have also failed to make any

real efforts towards reunification. ¶57. As another example, David V., George V.,

Lawrence V., Karen V., and Damien V., Plaintiffs allege that OCS for the most part placed

all siblings separately and, at one point, cancelled all in-person visitation (which was the

only time that the children would see their mother and each other) in spite of the fact that

the case planning goal remained reunification with the mother. ¶77. Plaintiffs allege that

Defendants placed Gayle T. in isolated facilities far from her family and failed to facilitate

any visitation with her parents. ¶¶113-14, 116. Therefore, Plaintiffs have adequately

alleged violations of their right to familial association.90


90
   See, e.g., Kenny A., 218 F.R.D. at 296 (finding a violation of the right to familial
association adequately pled where Plaintiffs alleged due to Defendants systemic “denial of
meaningful visitation with parents and siblings, failure to place children with relatives
when they first enter foster care, and failure to facilitate plaintiffs’ prompt reunification
with their families whenever safe and appropriate.”); Kenny A., 2004 U.S. Dist. LEXIS
27025, at *27 (declining to grant summary judgment on familial association claim where
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       First, Defendants argue that the Ninth Amendment does not “independently” secure

Plaintiffs’ constitutional rights. See D. Br. at 57.91 But the Supreme Court has found that

the right to familial association is deeply rooted in the First, Ninth, and Fourteenth

Amendment. See Roberts 468 U.S. at 617-18.

       Second, Defendants argue that these protections do not extend to kinship

relationships. See D. Br. at 57. Plaintiffs cite to numerous violations of familial association

that have already been recognized by the courts between parents and children.

Additionally, Plaintiffs have pled violations of familial association with (1) siblings and

(2) grandparents. The cases Defendants cite are distinguishable.92



Plaintiffs alleged that Defendants “fail to ensure that siblings are placed together or have
frequent visitation when separated, fail to ensure frequent parent-child visitation, and fail
to provide services necessary to facilitate children’s reunification with their parents.”).
91
   Defendants’ cited cases are not in the child welfare context and are entirely inapposite.
See Strandberg v. City of Helena, 791 F.2d 744, 748 (1986) (claim by plaintiffs that their
right to familial association was violated when son hung himself in jail); Goodpaster v.
City of Indianapolis, 736 F.3d 1060, 1072 (7th Cir. 2013) (claim by bar owners that a no
smoking ordinance violated rights to association was rejected because bar patron
relationships were not sufficiently intimate); Johnson v. Tex. Bd. of Criminal Justice, 281
F. App’x 319, 320 (5th Cir. 2008) (claim by prisoner that prison conditions violated the
Ninth Amendment); Crossley v. Cal., 479 F. Supp. 3d 901, 917-18 (S.D. Cal. 2020) (claim
by plaintiffs that California’s independent contractor test violated the Ninth Amendment);
Menefee v. Tacoma Pub. Sch. Dist. No. 10, No. 17-cv-6037, 2018 U.S. Dist. LEXIS 53674,
at *9 (W.D. Wash. Mar. 29, 2018) (claim by parents that the school district’s failure to
protect their child against sexual abuse violated the Ninth Amendment).
92
   Compare Miller v. Cal. Dep’t of Soc. Servs., 355 F.3d 1172, 1176 (9th Cir. 2004) (D. Br.
at 57 n.223) (grandparents were unable to establish their substantive due process right
because biological mother and the agency objected to visitation); J.P. v. Cty of Alameda,
803 F. App’x 106, 109 (9th Cir. 2020) (concerning claims that the state violated rights to
familial association when the state was responsible for the death of a sibling); Olvera v.
Cnty. of Sacramento, 932 F. Supp. 2d 1123, 1148 (E.D. Cal. 2013) (concerning foster
parents’ rights to familial association); Ragan v. County of Humboldt Dep’t of Health &
Hum. Servs., No. 16-cv-05580, 2017 U.S. Dist. LEXIS 31560 (N.D. Cal. Mar. 6, 2017)
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       Last, Defendants argue that Plaintiffs have no affirmative right to a “permanent

home and family” or to “all reasonable efforts toward fostering familial association.” D.

Br. at 58. However, when the state involuntarily removes children from a family unit and/or

separates siblings, the state assumes an affirmative obligation to restore the family unit to

its condition prior to state interference. Defendants’ arguments thus are without merit.

              3.      Plaintiffs Have Adequately Alleged Violations of the Indian Child
                      Welfare Act

       The Complaint adequately alleges a violation of Section 1915 of ICWA, 25 U.S.C.

§ 1915, as it alleges that plaintiffs in the Alaska Native Subclass are Indian children entitled

to ICWA protections, see ¶¶12, 14, 17, 28(b); that Defendants did not follow the ICWA

placement preferences when placing plaintiffs in the Alaska Native Subclass ¶¶54, 55, 70,

76, 80, 255-59, 288; that Defendants lacked good cause for its placement decisions, see id.

at ¶¶60, 70-71, 76, 80, and that Defendants’ actions resulted in placements that deprived

Indian children of their communities and heritage and harmed them. See ¶¶71, 78, 81-82.




(same). These cases do not support the proposition that grandparents and siblings lack
rights to familial association. Additionally, history and tradition provide substantial support
relatives’ substantive due process rights to familial association. See, e.g., Moore, 431 U.S.
at 504 (“The tradition of uncles, aunts, cousins, and especially grandparents sharing a
household along with parents and children has roots equally venerable and equally
deserving of constitutional recognition.”); see also RALPH NORTH, TREATISE ON THE LAW
AND PRACTICE OF THE PROBATE COURTS OF MISSISSIPPI 258-60 (1845) (discussing that
kinship placement is descendent from early English authorities); 2 ARTHUR WALLACE
CALHOUN, A SOCIAL HISTORY OF THE AMERICAN FAMILY FROM COLONIAL TIMES TO THE
PRESENT 23 (1917) (discussing the “blessed custom” of kinship placement in early
America); Stephen B. Presser, The Historical Background of the American Law of
Adoption, 11 J. FAM. L. 443, 459 (1972) (discussing that kinship placement was widely
practiced in America by the middle of the nineteenth century).
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       In opposing Plaintiffs’ claims, Defendants make several meritless arguments. First,

Defendants incorrectly argue that Plaintiffs have not adequately alleged that plaintiffs in

the Alaska Native Subclass are Indian children for purposes of ICWA. See D. Br. at 61.

But see ¶¶12, 14, 17 (alleging that certain Named Plaintiffs are in the Alaska Native

Subclass); ¶28(b) (defining the Alaska Native Subclass as “Alaska Native children who are

or will be entitled to federal ICWA protection.”). Defendants cite Umtuch v. Hoyt, No. 96-

cv-35000, 1998 U.S. App. LEXIS 22699, at *3 (9th Cir. Sep. 17, 1998), a case in which

the plaintiff conceded that her children were not Indian children. Plaintiffs here make no

such concession.

       Next, Defendants incorrectly claim that Plaintiffs have not stated a claim under

ICWA because Section 1915 does not create a private right of action, D. Br. at 61. A statute

provides privately enforceable federal rights that are actionable under Section 1983 where

Congress “intended to confer individual rights upon a class of beneficiaries.” Gonzaga

Univ. v. Doe, 536 U.S. 273, 285 (2002). In considering whether a statutory provision gives

rise to a federal right, the following factors are considered: (1) Congress must have

intended that the provision in question benefit the plaintiff; (2) the plaintiff must

demonstrate that the right assertedly protected by the statute is not so vague and amorphous

that its enforcement would strain judicial competence; and (3) the statute must

unambiguously impose a binding obligation on the States. See Blessing v. Freestone, 520

U.S. 329, 340-41 (1997). In addition, Congress must not have expressly foreclosed a

remedy under Section 1983, or impliedly “by creating a comprehensive enforcement

scheme that is incompatible with individual enforcement under § 1983.” Id. at 341.
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       Defendants’ authorities are distinguishable in one important respect: in Doe v.

Mann, 285 F. Supp. 2d 1229, 1232 (N.D. Cal. 2003), Jumping Eagle v. Warren, No. 18-

cv-4131, 2021 U.S. Dist. LEXIS 24621, at *28 (D.S.D. Feb. 9, 2021), and Collins v. Bern,

2006 U.S. Dist. LEXIS 108634, at *9 (D.S.D. Aug. 30, 2006), plaintiffs sought to enforce

Section 1915 under Section 1914 (25 U.S.C. § 1914). Plaintiffs were unsuccessful because,

as the courts held (and Defendants note), Section 1914 cannot, by its own terms, be used

to enforce violations of Section 1915. Here, by contrast, Plaintiffs are seeking to enforce

Section 1915 under Section 1983. This is not a Section 1914 case seeking to invalidate

individual state court orders, but a class action seeking to enforce Section 1915’s rules.

       Plaintiffs’ claims under Section 1915 satisfy the Gonzaga-Blessing test. The

language of Section 1915—“In any adoptive placement of an Indian child”; “Any child

accepted for foster care or preadoptive placement”—evinces “the kind of individually

focused terminology that unambiguously confers an individual entitlement under the law.”

Harris v. Olszewski, 442 F.3d 456, 461 (6th Cir. 2006) (internal citations and quotation

marks omitted). Section 1915 “does not contain the kind of vagueness that would push the

limits of judicial enforcement,” especially considering that Section 1915(e) requires states

to maintain records of their compliance with Sections 1915(a) and (b). Id. at 462. The

“shall” language of Section 1915—”a preference shall be given”; “shall be placed in the

least restrictive”; “shall also be placed within reasonable proximity to his or her home”—

confirms that the provision is “couched in mandatory rather than precatory terms.”

Blessing, 520 U.S. at 341. Defendants argue incorrectly that Congress impliedly foreclosed

private enforcement because Congress created a private right under a separate provision.
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This is not the kind of “comprehensive enforcement scheme that is incompatible with

individual enforcement under § 1983.” Id.

       Moreover, Defendants err “in seeking to impose upon Indian law doctrines from

other fields of law.” Venetie I.R.A. Council v. Alaska, 944 F.2d 548, 553 (9th Cir. 1991).

“Because of the unique legal status of Indians in American jurisprudence, legal doctrines

often must be viewed from a different perspective from that which would obtain in other

areas of the law.” Id. (citing White Mountain Apache Tribe v. Bracker, 448 U.S. 136, 143

(1980)). And so “standard principles of statutory construction do not have their usual force

in cases involving Indian law.” Id. (citing Montana v. Blackfeet Tribe of Indians, 471 U.S.

759, 766 (1985)). Courts should “liberally construe a federal statute in favor of Indians,

with ambiguous provisions interpreted for their benefit.” Doe v. Mann, 415 F.3d 1038,

1047 (9th Cir. 2005) (citing Blackfeet, 471 U.S. at 766).

       The purpose of ICWA, and the canons of interpretation applied to ICWA, were

intended “to rectify state agency and court actions that resulted in the removal of Indian

children from their Indian communities and heritage.” Id. “Indeed, promotion of the

stability of Indian families is a major objective of the Act.” Venetie, 944 F.2d at 554 (citing

25 U.S.C. § 1902 (1988). Defendants’ actions result in the removal of Indian children from

their communities and heritage. See ¶259. Without a cause of action under Section 1915,

children in the Alaska Native Subclass would be left without a remedy. It is inconceivable

“that Congress intended such a self-defeating result.” Venetie, 944 F.2d at 554.

       Third, Defendants argue that there may have been good cause to place plaintiffs in

homes that were not in accordance with ICWA preferences. D. Br. at 62-63. But these
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arguments are inappropriate for review on a motion to dismiss,93 and Plaintiffs allege that

there was no good cause for deviating from ICWA. See, e.g., ¶70 (placing Connor B. with

non-Native family without contacting relatives); ¶76 (no attempts made to place children

in accordance with ICWA).

       Last, Defendants state that ICWA does not require them to, for example, maintain

a certain number of licensed ICWA foster homes. D. Br. at 63. This, combined with

Defendants’ contention that “Plaintiffs’ claims amount to no more than a disagreement

with some of the individual placement decisions,” reveals a fundamental misunderstanding

about this case. Id. Plaintiffs’ claims are not aimed at a court’s individual decisions. They

are aimed at Defendants’ systemic failures that create situations in which Defendants fail

to comply with ICWA. Defendants’ arguments are without support.94

              4.     Plaintiffs Have Adequately Alleged Violations of 42 U.S.C. § 672(a)

       The Adoption Assistance and Child Welfare Act of 1980 (“AACWA”) requires that

the state make maintenance payments to “foster family home[s].” 42 U.S.C. § 672. Section

672(c)(1)(A) contemplates two categories of eligible foster families: (1) “licensed foster

parents, who usually care for unrelated foster children”; or (2) “approved foster homes,

which typically care for a relative child.”95




93
   See Planned Parenthood Fedn. of Am., Inc. v. Ctr. For Med. Progress, 735 F. App’x.
241, *247 (9th Cir. 2018).
94
   Defendants also make arguments that this Court should abstain from review under
Younger. D. Br. at 63. Those arguments are addressed above.
95
   D.O. v. Glisson, 847 F.3d 374, 382-83 (6th Cir. 2017). This question has not yet been
addressed by courts in the Ninth Circuit.
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       As an initial matter, Defendants ignore Plaintiffs’ allegations in the alternative that

Defendants are violating the law because of their “ongoing policy, pattern, or practice of

failing to take necessary steps to ensure that relatives or community members who could

appropriately provide homes for Plaintiff Kinship Subclass members . . . are licensed as

kinship foster parents.”96 ¶296. For example, OCS placed Jeremiah M., Hunter M., and

Hannah M. with their grandmother, who sought assistance regarding licensing; OCS never

returned her calls and never sent anyone to do a home inspection. See ¶¶45-51. Similarly,

Mary B.’s grandmother submitted several licensing applications, and OCS did not help her,

instead directing her to websites that provided incorrect information.97 ¶¶61-65.

       OCS actively frustrated efforts by approved relatives to secure a license—it did not

respond to relatives, conduct home visits, assist relatives with licensing applications, or

provide correct information to relatives seeking variances. Id. These facts amount to a clear

violation of the AACWA.98 Defendants offer no defense.



96
   Plaintiffs request injunctive relief to address Defendants’ violations of AACWA, not
Alaska state law. Defendants’ argument that Pennhurst State School & Hosp. v.
Halderman, 465 U.S. 89 (1984) applies thus completely misses the mark. D. Br. at 47-48.
However, Alaska’s understanding of their obligations under federal law can be inferred
from state laws regarding kinship caregivers. For example, if OCS approves an unlicensed
relative for placement, OCS must “assist the adult family member in obtaining a license,
including assisting the adult family member with obtaining any variances necessary to
obtain the license.” AS 47.14.115. OCS must “streamline the application and licensing
paperwork necessary for a person to be approved as a foster parent or relative placement
to the extent consistent with federal law.” AS 47.32.032.
97
   The children’s placements disrupted due, in part, to Defendants’ failure to pay the
required foster care maintenance payments or assist in licensing the relatives. Currently,
Mary B.’s placement is at risk of disruption for the same reason. ¶¶51, 65, 66-67.
98
   Defendants’ actions also violate AACWA’s due diligence requirement. For example,
Section 671(a)(29) of AACWA requires states to “exercise due diligence to identify and
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       Plaintiffs have also adequately alleged that the State should be, but is not making

payments to homes that fall into the second category, unlicensed kinship foster homes,

which violates the statute. Defendants placed members of the Kinship Subclass with

relatives. ¶¶45, 61, 65. Defendants then withheld foster care maintenance payments from

those approved relatives. ¶¶47, 62-63. Defendants argue that the two categories are the

same—that they only need to make payments to foster parents who are “licensed” or who

meet the “meet[] the standards for licensing.” D. Br. at 65. But If Congress intended states

to apply a single standard, it would have excluded “approved” entirely, or replaced the

disjunctive “or” with the conjunctive “and” in subsequent amendments to the Act. Neither

common sense nor legislative history support an interpretation of the statute that deems

relatives safe enough for placement, but not eligible for monetary support.

       Defendants cite to Glisson, a Sixth Circuit case, and contend that the court only

ruled in favor of the unlicensed relative foster caregiver because “Kentucky’s procedure

for ‘approval’ included a background check and home evaluation, which are also required

for licensed foster parents,” and the plaintiff was approved for placement under the lesser

standard. D. Br. at 65 n.245 (citing Glisson, 847 F.3d at 382-83). But the record in Glisson

reveals that, in fact, Kentucky had established two separate standards for licensed foster




provide notice” that “specifies that the child has been or is being removed from the custody
of the parent or parents of the child,” “explains the options the relative has under Federal,
State, and local law to participate in the care and placement of the child, including any
options that may be lost by failing to respond to the notice,” and “describes the
requirements…to become a foster family home and the additional services and supports
that are available for children placed in such a home.” See ¶¶47-49, 63-64, 66.
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homes and unlicensed relative foster homes.99 Based on these facts, the court still held that

the unlicensed plaintiffs were entitled to maintenance payments. Alaska is no different.100

              5.     Plaintiffs Have Adequately Alleged Discrimination by Denial of a
                     Reasonable Accommodation and Violations of the Integration
                     Mandate in Contravention of the Americans with Disabilities Act and
                     the Rehabilitation Act

       Defendants argue that counts VI and VII of the Complaint (¶¶298-315) should be

dismissed because the facts pleaded “do not constitute discrimination” under the

Americans with Disabilities Act (hereinafter, “ADA”) or section 504 of the Rehabilitation

Act of 1973 (hereinafter, “Rehabilitation Act”). D. Br. at 65-70. Defendants further contend

these disability-related causes of action fail to state a claim as a matter of law because they

either: (1) amount to impermissible claims regarding the adequacy of medical services

provided to individuals experiencing disabilities (D. Br. at 66); or (2) fail to adequately

plead violations of the ADA’s integration mandate. D. Br. at 68-69. For this last point,

Defendants rely in part on facts extraneous to the complaint: various confidential state court

records filed under seal purporting to show that the plaintiffs were not, at various times,


99
    Defendants in Glisson represented to the Sixth Circuit that the great aunt “never had
mandated state training.” Brief of Defendant-Appellee Vickie Yates Brown Glisson at
25, D.O. v. Glisson, No. 16-cv-5461, (6th Cir. Jul. 27, 2016), ECF No. 20. And the District
Court’s holding in Glisson was based on Kentucky’s argument that “the additional training
and requirements for licensed foster-care providers justifies treating [unlicensed plaintiffs]
differently.” D.O. v. Beshear, No. 15-cv-048, 2016 U.S. Dist. LEXIS 37651, at *20-21
(E.D. Ky. Mar. 23, 2016).
100
    See AS 47.14.100(j) (“For the purpose of determining whether the home of a relative
meets the requirements for placement of a child under (e) of this section or under AS
47.10.088(i), the department shall conduct a criminal background check from state and
national criminal justice information available under AS 12.62. The department may
conduct a fingerprint background check on any member of the relative’s household who is
16 years of age or older when the relative requests placement of the child.”).
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placed by OCS in an institutional setting. D. Br. at 68-69. None of these arguments are

valid, especially at this early procedural stage of this case.

                      a.     Plaintiffs Have Adequately Alleged Discrimination under the
                             ADA and the Rehabilitation Act, Partly Because Defendants
                             Have Not Made Reasonable Modifications to their Programs
                             to Avoid Discrimination

       As the Defendants acknowledge, Title II of the ADA prohibits state governments

from discriminating against individuals based on their disability, while the Rehabilitation

Act prohibits disability-related discrimination by recipients of federal funds. D Br. at 65-

66; 42 U.S.C. §§ 12101–12132; 29 U.S.C. § 794. To make a prima facie claim under Title

II of the ADA, plaintiffs must show that “(1) [they are] qualified individual[s] with

disabilit[ies]; (2) [they were] either excluded from participation in or denied the benefits

of a public entity’s services, programs, or activities, or w[ere] otherwise discriminated

against by the public entity; and (3) such exclusion, denial of benefits, or discrimination

was by reason of [their] disabilit[ies].”101 Under the Rehabilitation Act, a plaintiff must

additionally allege that the state program or agency receives federal assistance.102

       Well-settled precedent establishes that it is disability discrimination under the ADA

and the Rehabilitation Act to offer “equal treatment” that in practice discriminates against

people with disabilities.103 Both the Supreme Court and the Ninth Circuit have repeatedly


101
    Payan v. Los Angeles Cmty. Coll. Dist., 11 F.4th 729, 737–38 (9th Cir. 2021) (internal
citations and quotation marks omitted).
102
    Id. at 738. The Defendants do not appear to contest that the Complaint adequately
alleges that the individuals are qualified individuals with disabilities under the ADA or the
Rehabilitation Act, or that the Rehabilitation Act applies to Defendants.
103
    McGary v. City of Portland, 386 F.3d 1259, 1267 (9th Cir. 2004) (citing and quoting
Presta v. Peninsula Corridor Joint Powers Bd., 16 F. Supp. 2d 1134, 1136 (N.D.Cal.1998)
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reaffirmed that Title II of the ADA and its implementing regulations forbid various forms

of discrimination, including a failure by a state agency to offer “reasonable modifications”

to existing programs and services when doing so is necessary to avoid discrimination

against a qualified individual with a disability.104

                      b.     Plaintiffs Have Adequately Alleged Discrimination in
                             Violation of the ADA and the Rehabilitation Act Resulting from
                             Defendants’ Failure to Offer Reasonable Modifications to
                             Existing Foster Care Programs

       Defendants broadly assert that “Plaintiffs do not assert they were excluded from

participation in or otherwise denied the benefits of Alaska’s child welfare program on the

basis of their disabilities.” D. Br. at 66. The Defendants instead characterize Plaintiffs’

allegations as asserting that “they have a variety of health conditions and allege OCS has

or has not taken various actions related in some way to the treatment of those conditions.”


(internal quotation marks omitted) (“[Title II of the ADA] guards against both intentional
discrimination and simple exclusion from services resulting not from intentional
discriminatory acts, but rather from inaction, thoughtlessness, or equal treatment when
particular accommodations are necessary.... In the context of disability, therefore, equal
treatment may not beget equality, and facially neutral policies may be, in fact,
discriminatory if their effect is to keep persons with disabilities from enjoying the benefits
of services that, by law, must be available to them.”).
104
     Fry v. Napoleon Cmty. Sch., 580 U.S. 154, 159 (2017) (observing both the
Rehabilitation Act and the ADA require public entities to make reasonable modifications
to programs when necessary to avoid discrimination); Tennessee v. Lane, 541 U.S. 509,
532 (2004) (holding Title II’s “reasonable modifications” requirements apply to state
courts); Updike v. Multnomah County, 870 F.3d 939, 951 (9th Cir. 2017) (quoting Mark
H. v. Lemahieu, 513 F.3d 922, 937–38 (9th Cir. 2008) (internal quotation marks omitted)
(“A public entity may be liable for damages under Title II of the ADA or § 504 of the
Rehabilitation Act if it intentionally or with deliberate indifference fails to provide
meaningful access or reasonable accommodation to disabled persons.”); McGary, 386 F.3d
at 1269 (holding plaintiff had adequately stated claim that public entity discriminated
against him under Title II of the ADA by failing to make reasonable modifications to its
nuisance abatement program).
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D. Br. at 66. But this misconstrues Plaintiffs’ claims, ignoring the plain language of

Paragraph 306, where the ADA subclass members claim that Defendants have

discriminated against them by not affording them an equal opportunity to take advantage

of at least four types of services:

       • In-home safety plans intended to allow children to remain with their family of
         origin; 105

       • Appropriate healthcare delivered in the most integrated, home-like setting
         appropriate to their needs;

       • Timely delivery of mental health and other disability-related services to avoid
         unnecessary institutionalizations and changes in placement;106 or

       • Respite services intended to help foster parents care for children with more
         intensive needs.107

       These claims are in turn supported by the specific facts alleged by the individual

plaintiffs with disabilities. For example, Plaintiffs allege that Jeremiah M. experiences



105
    As set out in Section 2.2.3.2 of the Alaska CPS Manual, Alaska’s Office of Children’s
Services has a policy that permits caseworkers, in appropriate circumstances, to leave
children home with their natural parents or guardians upon the parents’ agreeing to a set of
safety-related rules. STATE OF ALASKA -- CHILD PROTECTION SERVICES (CPS)
POLICY MANUAL, Office of Children’s Services -- Publications (2022),
http://dpaweb.hss.state.ak.us/training/OCS/cps/index.htm#t=CPS_Policy_Manual.htm
(last visited Sept. 15, 2022).
106
    Defendants construe the reasonable modification claims made in ¶306 (B), (H) as
impermissible claims regarding the adequacy of health services. This contention is without
merit because, as the Plaintiffs plainly allege in ¶306, the ADA and the Rehabilitation Act
violations are premised not on insufficient medical services, but a failure to modify existing
foster care programs to ensure that children with disabilities enjoy the same opportunity to
receive services—including behavioral health and medical services—in the most
integrated setting that can meet their needs.
107
    Alaska law enables OCS to offer “respite care” to foster parents, irrespective of the
children’s needs, to provide “temporary relief from the stresses of caring for a foster
child[.]” AS 47.14.100(d)(2).
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disabilities and was removed from his mother’s care after his non-custodial father visited

the family while intoxicated and his mother was subsequently evicted. ¶44. Likely because

of his disabilities and because of prejudiced notions about the difficulty of parenting

children with disabilities (¶42), Defendants appear to have made no attempt to explore

other arrangements, such as an in-home safety plan, that might have allowed Jeremiah M.

and his siblings to remain in their mother’s care. ¶44.108 By declining to make reasonable

modifications to their “safety planning” program, Defendants discriminated against

Jeremiah M. by denying him the same opportunity afforded to other children to remain

safely in his parent’s home.

                     c.        Plaintiffs Have Adequately Alleged Violations of the
                               Integration Mandate Based on a Risk of Future Placement in
                               Institutions or Other Overly Restrictive Settings

       Defendants also argue that Plaintiffs’ integration mandate claims should be

dismissed because the plaintiffs are all presently placed in home- or community-based

settings, and because the Complaint does not allege sufficient facts to show that Plaintiffs’

prior placements in secure residential psychiatric treatment centers were improper. D. Br.

at 68-70. These arguments ignore well-established precedent that ADA integration




108
    As the Defendants are aware, existing, generally applicable OCS policy requires child
protective service to use the least intrusive means to ensure the child’s safety, directing
foster care workers to first consider an in-home safety plan before removing the child from
their home. See Section 1.1, STATE OF ALASKA -- CHILD PROTECTION SERVICES
(CPS) POLICY MANUAL, Office of Children’s Services -- Publications (2022),
http://dpaweb.hss.state.ak.us/training/OCS/cps/index.htm#t=CPS_Policy_Manual.htm
(last visited Sep 15, 2022).
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mandate claims can be premised on a risk of future institutionalization, and improperly rely

on evidence extraneous to the complaint.

       In M.R. v. Dreyfus, 697 F.3d 706, 734–35 (9th Cir. 2012), opinion amended and

superseded on denial of reh’g, 697 F.3d 706 (9th Cir. 2012), the Ninth Circuit held that the

ADA’s integration mandate prohibits states from taking actions or executing policies that

“place individuals at risk of unnecessary institutionalization.”109 In subsequent cases,

courts have determined that the integration mandate requires states to provide services in

the most integrated setting regardless of whether “the plaintiff faces a risk of

institutionalization in a residential setting.”110

       Reflecting these post-Olmstead developments, current Title II regulations require

states to “administer services, programs, and activities in the most integrated setting




109
    See also Davis v. Shah, 821 F.3d 231, 263 (2d Cir. 2016) (“We thus hold that a plaintiff
may state a valid claim for disability discrimination by demonstrating that the defendant’s
actions pose a serious risk of institutionalization for disabled persons.”); Steimel v.
Wernert, 823 F.3d 902, 914 (7th Cir. 2016) (“Based on the purpose and text of the ADA,
the text of the integration mandate, the Supreme Court’s rationale in Olmstead, and the
DOJ Guidance, we hold that the integration mandate is implicated where the state’s policies
have either (1) segregated persons with disabilities within their homes, or (2) put them at
serious risk of institutionalization.”); Pashby v. Delia, 709 F.3d 307, 324 (4th Cir. 2013),
abrogated on other grounds by Winter v. Natural Resources Defense Council, Inc., 555
U.S. 7 (2008) (finding that plaintiffs were likely to succeed on merits of integration
mandate claim premised on “a significant risk of institutionalization.”); Fisher v.
Oklahoma Health Care Auth., 335 F.3d 1175, 1182 (10th Cir. 2003) (“Olmstead does not
imply that disabled persons who, by reason of a change in state policy, stand imperiled
with segregation, may not bring a challenge to that state policy under the ADA’s integration
regulation without first submitting to institutionalization.”).
110
    Lane v. Kitzhaber, 841 F. Supp. 2d 1199, 1206 (D. Or. 2012) (rejecting state-defendant’s
argument that integration mandate did not apply to the place at which employment-related
disability services were delivered).
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appropriate to the needs of qualified individuals with disabilities.”111 Accordingly, a

plaintiff must allege that: (1) they have been inappropriately provided services by a public

entity in an institution or other less-integrated setting; (2) they are willing to receive

services in a more integrated, home-like setting; and (3) providing services in the

community is feasible considering the resources available in the state.

       Contrary to Defendants’ assertion, the Complaint alleges sufficient facts to support

a claim of “unjustified isolation.” D. Br. at 6. For example, the Complaint alleges that

Defendants placed George V. in several “inappropriate and inadequate” institutions and

institution-like settings, including the Covenant House shelter for homeless and runway

youth, the Alaska Native Medical Center, and North Star Behavioral Health Systems, a

secure residential treatment facility in Anchorage.112 ¶¶86-89. Under M.R. v. Dreyfus, this

is enough to demonstrate a prima facie claim for violations of the integration mandate of

28 C.F.R. § 325.130(d).113



111
    28 C.F.R. § 325.130(d) (emphasis added).
112
    See also ¶¶125-34 (alleging that Defendants failed to place Lana H. in the least
restrictive home—in her case a therapeutic foster home—instead placing her in North Star
Behavioral Health Systems and McLaughlin Youth Center, a juvenile detention center).
113
    Finally, Defendants’ contention that state court reviews under AS 47.10.087 obviate
any discrimination by ensuring that institutional placements are appropriate is without
merit and ignores the limitations of the state law in question. D. Br. at 69-70. First, this law
applies only to “secure residential psychiatric treatment centers,” defined by statute as
secure- or semi-secure facilities providing psychiatric treatment under the supervision of a
physician. AS 47.10.087; AS 47.32.900(20). Accordingly, AS 47.10.087 offers no
protection to children who have been placed in runaway youth shelters or hospitals as has
happened to George V., or to the whole host of other institution-like “residential child care
facilities” in which Alaska OCS routinely places children. See In re Necessity for the
Hospitalization of April S., 499 P.3d 1011, 1014 (Alaska 2021) (State arguing that that no
hearing warranted because the facility at issue was a different type of facility — a
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IV.   CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request that the Court deny

Defendants’ Motion to Dismiss.




psychiatric hospital — not covered by the statute.”). Second, the argument assumes that in
all cases the review required by AS 47.10.087 has occurred, and that the testifying medical
professionals gave adequate and reliable testimony. But the opinions of the state’s medical
professionals are not controlling as to the appropriateness of home- or community-based
placement under the integration mandate. And, as illustrated by the facts of the Alaska
Supreme Court’s 2021 decision In re Necessity for the Hospitalization of April S., the
Defendants’ foster care workers sometimes determine it necessary to commit foster
children to psychiatric hospitals on an emergency basis (before obtaining a court order),
and there remain open questions under state law as to when, and under what circumstances,
an order under AS 47.10.087 must be obtained. Moreover, these placement decisions are
made by Defendants and only reviewed by the courts in connection with individual CINA
cases.
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                               CERTIFICATE OF SERVICE

I hereby certify that on September 30, 2022, I filed a true and correct copy of the foregoing
document with the Clerk of the Court for the United States District Court – District of
Alaska by using the CM/ECF system. Participants in Case No. 3:22-cv-00129-JMK who
are registered CM/ECF users will be served by the CM/ECF system.

/s/ Marcia Robinson Lowry




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